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Pli\ileged & ConfidenLial
kim D¢!`cnse lnf`ormalion

  
   
   
 
  

   

“._;L‘u \`§v»r.- `

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w "" ‘v- xil\“»"‘t :l:-,l_' : o"€f:. A‘;'.’:‘:;;';`#::f;‘:"

, \ .»- \~ . ~ ~ ~ q

a~:.B;El=.\.\a\_lc:¢x DE'PANAM§;';;;;?,¢

‘ °\ w m `r"‘" PRPEL` NDT*F“AL‘"x ‘4',“ n\"" s
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c ;.. \ _`m g J . .¢ 3....,. .\\\'.\'¢*~”,,,“. w Om ` g s
" *"` \'¢' ~ `l "*¢"""` ~g»\'"¢"“ v "
= _a _ N¢,\ \ ~ ,“_,`\,§ , c
4 \s‘\ *‘ . ph ¥“~ \\o_n‘~‘¥ \g ¢ ¢
s1 ‘ " g n~\‘ \‘ L w what -n’-*“““ ‘ il
el *“".m L.!.C"‘(n'“,\\ `!L"" ,., mu'\"\‘”p'¢ l E’.‘;-
" " ‘ app ‘-'“"‘P x \¢-\' c ‘ ,.,.. '11\‘*""’“\; `\»m'.‘\‘"“‘ k °¢ '*"`
17 § 1, ._("‘\ .e- ` *.'\,\'v',- .m»\"“‘,\ p\z\m`l‘r‘_f o §
1 ‘ -.~‘ '- ,"` 4\ \.-,b.} r¢.!)"‘“' ,\e~\'\ `~ “'
la __..'- v 1 . ‘“.ml ‘l¢ \,,

~ ‘ ‘ '\.'\"~" `.‘ ,\nlo\" .' :

 

» s..\'_'.,...»“',.' .,¢ ,.. ,‘
~~ ~¢IAH'A RBWERA,§§ _“

1 Q‘ l
§€189”*!@95, qQ&QNi¥‘T-~;,;;:.itz:s.».;:.\ --

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w "‘"*"1.,"-`\'¢\>”*".1*...-~ fl " ." L!-‘;.:)`;E-"*"»:. ., ,.\ ~~ i~ "' '.: -_ .¢. ~~., cu. ...,`..-,'_-aS-'-',“~,',,,,.~.~‘H’-j‘“",~.‘\~.'\
..»~'AL'-' :,‘," § _ -' ~“'°=._"'..L f“,-`:.'_.\:"
`§~_‘g*\,.`.~:q cum-o cuatro uno- slate alarm sets uno (441“7451'}, para mm a cabo cua!quter acts qua sej §§ §;,?`.§f.`§
\,'..4 vi : 4 ». >f\\¥ "*‘L
, g 1»\.! ‘\*‘ 5 m .
‘,.{;‘§.?.~;\l»&z necesarlo para protoco|!zav y registrar ns¥e ada de reumén de acdcn|skas para proponer ¥ "g"{'”:§:»:‘
1” .. M'*“
', .5»,\‘ "‘ “1 ,4'\)4‘»"
,`-1.~.-¢;; ,3 Fus$c$n y Hevar a sabo manquier acts en re!ac|é»:s con el misma ama war ha a side e mwdo r blr-v "~ "
.~g.» 1 y po `_ -,`;s\f¢\
»w;;‘s ~ -¢,\ ¢.\»;`
'. ‘§.§"4 las partes lntaresadas, No hammch am asunw que xraxar, se eeo per ciausureda la munién. En fm :-““.;`1
jr.~:;‘w"" `»“\\4;,°~` \
j'» 1 ‘, ¢~ v ,m' ~.'-, ~."
5§~;;‘,‘.,£¢.-:5 fe de lo cum scm suscrtbe me Convenlo de Fusién en Panamé, Repdbllca de Panamé, boy :\;';; ;‘f.';f.~,»»',`
¢`.:4\~"‘ '. »¢p\“
' _, xo_ri 3;`\ "_ ‘\\
§§ '.~\g " »B vetmluno £5) de anew de dba mrt diaz €2010) en was ejempmres de iguai tenor y efe<:t<). Por ta ;;j;`§.:(`\:; f
v¢\v` ~` , -e wm °
\ . - __`, ,: =.
!.§;{;, .1 sociedad Absorbenrei <rdn,) nom mm man KNARFAH, mesroam; mm mm. *§: §»1§3;%
Jn \ ».¢l "r";“iwm
tot 0 "~' ~.

&L;M(,.`ré‘ sousa KHARFAN, sECQET/\mo; <fdo.) tsme¢. voussm= Amoi¢\, wesom»:ao; com .»I;»"»~g;:;,“.\

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v g\_\i";-l ~ e|\\. 1
"\':\l"~"‘ k ‘| ’!¢?:.;:.u~.
,\;`. hug ELECTP`QNIC$' S‘A_.."."n".~..._. ..... . ............... . ....... , ..................... ..,,.,..,.. ........ ‘,\\ _`J ,
' ... .i'\F ‘ . \
,.- \,l\¢ l(,\"

-' \
._\ - ~;¢ r~,\.r m socz¢_»dades Abso»b»d.~,s. §r'_‘e.; umw sun JOMM KHARFA:\-“ =>qesxos.~n's; ('de.; -';':1”,’.;.~.

u‘x:~: `, '\\‘» f .
`;»¢\`~;:“'11 :ALAL JoMHA KHARFAN, sEcRETAR!o-, (fdo.) stAzL voussEF AaAuiA, 'rEsoRsao; .§.‘\<`=;§-;;\;‘
'?`r\.'\“ *~'": ..*¢ ~_n`;.‘;
--.`;;j';§`: ."12' norma GRANue xmeRNAc:oNAL, s.A, -------- ------ _'$’».` :¢y,'-",'-;"
` l~¢ \ v\\'
~`~“_` ‘ ‘ . ` d\\\§\"
;~;_~‘..",3 (fdo.) AzMAr~r saw xoMAA KHARFAN, passloeme; (edo.) JALAL JoMHA KHARFAN :»`§g;‘.';‘,"~`
'\,-\ .,‘\. »;l'~

;`~."-l-. . _»14 sECRETARro, (fdo.) stAeL YoussEF AaAoiA. TESORERO: zoNA acme m‘reerA'rroNAL "‘ ":.`»-'\~ \

 

 

.:~ *"‘"1£.5 HARKET, S.A. Convenio confeccionado y rcrmndado nor el Abagado en ejc.'clclo Ucencind '\v_;‘;;‘\`
»V’:".Z'!:`B Ricardo Semuero, con céduln de identldad oersona! No. trcs- scsenta y tres- cuatrocler\!o ~'E: -w:'-'
r‘-,".' g]"vexn:\o¢ho (3.53-423)_ ...-......----...-.............................-. ....... .................-......- ,-§ ll
‘3`;'~12. 1_a EL Ac'rA Que ss wszRTA ss msicuie~rs; AcrA 05 LA REuméN GENERA\. :)E AcccomsT 535 §\`:-.:~~:
DE '_A SOC!EDA'.> GO’..O¥ ELECTP.O.‘|[CS, S.A.~-~ 51 die ':Ir'co {5) dc crew de des ."*l§ diaz (ZOZC) \,.\.`u_¢¢::`: "
` s!e'-'.‘o .‘cs diez (10:{30 a.m.) se la ma?§ana, se nevo c case usa reunid-‘. geraral dc 49 .~. ~~"‘>L .`:
accionlstas de GOLB! ELECTRONIC$, S.A. sociedad organizada y ex\slen!e de conform!dad co »`;"" ‘\2"\`§.'.§:'

las reyes de la Repébllca de Panamé, en 1a secdén de micropc!fculns (mercantll) dei registr f}§.ww. \'

pnbllco a Fk:ha sets cuatro des nueve sels doe (§312§2), documento uno cuatro slate sei ‘.‘_,I.‘ w\~‘~“

 

cuatro des dos M. --- En dlcha munién estuvhrun presentes y representadas l ..~. `G§`:`_f'}
tota\ldad de las acclone$ emltldas y en clrculaclén de la socledad con derecho a voto, qulene
renuncianon a la _citadén prev|a. EE sehor AIHAN sun JQMAA KHAR¥AN, acmé com ‘?‘\“\'fi'.--:¢;'
presldente de la sociedad de la munibn y el se?ior JM.AL IOMHA KHARFAN, acted com .,“. -‘ \
secretario de fn reunldn, qulen !evanto el §cta. E| Pnes$den!e expreso come amato de la munlén ,Q- ~""~

dacidlr sobre la aproback'>n 0 no del convenlo de fvslén por absorclén entre ¥as sociedades \:»:"‘~’".§E¢;"E

 

 

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“" ‘ ‘\..n \m"\\'\,,, a » s
u"`,“.~\\¢ol'~‘ . ,' 4,»¢\\`
¢¢ \r\“~'“ ‘ ¢¢.\.
rv '~ (

 

 

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Pn’.w`leged$: Com'cdemia.l
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\‘-"-‘~ an * v \x~w= . ..` \.,.. vo,.,\`..~ .»_~,,\~--- nw
\:J‘-l -\ ' , 431 ~.1.$. , . w » w‘“¢` .
w c §¥`_'ra L‘c'\"f"';:;,; \'»I~'¢ ';‘;‘: ‘ `_nr!\“* ":__;’\'4 .:.'5`1'~§`£ 'u(: |'\ ‘ “_"`,>~:~ :.:4 ‘ ".‘"§ \::;;;a \f.
. w m k..v»'~'~*";`.~’- ""';\;,L»). '~'-‘11;`,<_-.-¢~ "; -1\”~*~‘ ~ ,“,'
. '.~.~'.»<»»»;~;§,,. ¢»`--'§:" ;M~ <':';"",.\~'t;“-“";h.:. ~\‘ "" .. .S ‘ .' ‘.‘.-~‘~»"§ .'
' " ‘ v " . g < n " ‘
»‘s.»~ .‘ "l§}~~" .- ‘~*“E".G~‘*"".`LZZ§Y-\ " ‘; ~ …3
r HV“"'“\N*“"'B' ,\1(""\ r '\""'.". gm . °" ,»
': nolh'\'*“_,"\:¢._r_. 1 ll ’~‘,’ ` ,Ux “" :_‘ c \¢.1'“"`" ':'.`¢.» '* . ' ,»4 f .,n"\‘ '
‘~’“ '.'H u‘r=\""“' \z‘»~" ’ °!`.q,\|v¥`""‘ -~."i\¢ `\\ ‘ b mm ` “". i.ms\\‘~"`»'-’
`,`\‘\ »g<\‘;*:u’o¢`»`,l.r\\ w ‘~‘. W"(FL ` ¢r\)l* "*;' ' ,‘¢»~)1\\-':'“ m-:\vl R“'W¢ ,_r.
l`;""",’{“_,` \ 4 °5""‘: ¢ l‘»‘"‘\' "»\tl * ‘;';:‘;m>'r'* ~*“: '.‘ 'q 11*'-“:`§:,"§3 `..»v»a~“;:({,, .'H*J‘..
` ,. ma ~\ `. »p v ~*' rf ` ‘ ` "
o zw'~“"? \:f`rh\`;\"‘ ' `." »:“: ‘ \\.:r?""‘ '.‘;`; -' h '".'~`¢m " "'.’;£:!:&. ,\'.~u‘»*¢""`
.1 " ' \-¢.\\Yi ‘ . us " ,.\ ‘~‘ ‘ ’ , .~,n\ ‘ ..\»» ' ".m¢,~~' ..`,‘,
W.i . \Li` \.b\ »~l n ,. d y _ \1|
Lu;¢ \,-q.\¥\\u" `n.,,` ,-\,*.'\ ` u:»_ ~'».GS \-:‘o¢,‘,'\\c\\i~".", o \\*1- _?\':;v et "- "` ,`. '.,\, ` "‘;`,\;5 \ \ ‘”" ¢ n _
§,‘.`»J.»\“~’;,"..<.=.~.~:1-'\‘};;F;"»~\\'~‘Q‘th » * \.'.`f.‘»¢”¢“j_ ,"w¢\ ~v'*:;;\~.-J -"~;‘;‘~“'m.-.\~»“:I(`.’..-.v~v',.".;'-I~ - "‘,‘,* q ,.,: ~
.- ~ -~; ' ,~.- 1 ._ .. ,- '. ` ,v_ 1 ~‘
"`§`§`£~‘»"'§Z-w\w._'.¢g~ , .r.'»~¢z .": i-~.x;;»> w °_'*; !_.» v»h“-.':“M w»~‘»‘" 'sz r'»\'J'J ‘l'f..§i~w»‘~ v ‘»' _‘:;'.~:".‘».~. ‘.~~\‘.‘;",‘.» . ~w \".’."\` <.r ~'»*
x \` , ',.,`\. ________*"*'“""""'"'""""”’" w _w_,. t~.\,~.
_.,,;_-h°".\)~" ` v rn
nw 1\;3';"1, !NTERNATIONM. HRRKBY, S.A., celebradc per los d|rec&ozes de estes sociedades con fech {;`;. c`,,’.x_.",f \
*SJ>.\\"‘§ ' '\',\¢ o€,_ `u'rw.f\
_\._g¢m!$ 1 ` _'w~_ s
<§~4;<§§‘;‘;2 ¢¥n€€f (5) de mem de des mbi diet (2010}.. det qua resul€arla some sociedad sobrevwlent ‘,§i§ Lu- §§
u¥‘~ ge ' vi ..\;U‘
°~"’-'.& \“‘ ¢ l'~. \“' ml "
`l".§f,`;`.v_. 3 soan elemonrcs, s.AJ., nespues de ra wanda deub¢¢a¢:¢sn, per macan demoament 21 -§“;1
. , .`
~\:'.e‘l l“ ‘ ' 51 ""` .,\-,¢ w
` \"\‘~`“"`d _u\z.~ .N,
j;l‘,\.r\_r€§ P“`e$€f\¥&da, BSYGYBG& y unin\memente apmbada, se adop!amn Bas s£gufentes resolucinnes: 1 nj '=;§\,‘v",_ .
-'\(»\ g'E\.W' ~ '°.; 4»'/§3 ‘

j:_;";~,\u~z\~_~.§ Apmbar et convenio de fuslc§n per absor<:i¢$n entre; GOLOI ELECTRQHIcS, s.A. y MON‘¥

§,;m.w.*""s' GRLNUE IHYERNACIONAL¢ S¢A., y ZQNA LlBRE KHTERNATIONAL !¢U\RKET, S.A, en el Cua

isrk‘»’§"'m, ` \ ::‘ ,‘ n
`,~\€w". .' .~“ t
§§,\;;§fj'.`a': ccnforme a sms térmmos, as la sobmviv!ente GOLDI £LE\:?RONICS, S.A. y dela de msu ¢`l.` »~`¢"1_‘¢
\v.\;*“"~“ “\*z 'l.`§`g i\“"-`"`
§';'§i‘.`~§`\’»§x§ MoN'rE animus mTERNAc!oNAL, s.A., y zom. uaRE INYERNAT:¢:»NAL human s.A, »§~\;"5;3“
*\,'Y."\w‘ iv \`:J'> ' ":'\
§’{j.`,§"u`»§;v;_\§ 'L QU€ m CO§FH 591 'éfe'|do €Of\ven!o que se uresenté Y !cvé en la reu"fdn, '-:ea adh=:~‘da a ¢_v‘.! "“ ,""'"
`.\;r‘\;‘ "'.' .», z‘
.'l'»') -"",,'“`» ' .\`~' " '

_.~.\.m'*~io ac:e sara cue .‘0':*.*.9 ::c.'t‘? de fn m‘s::‘a. 3. Au:orir.a.' v facul:a: a !'.>‘.'- 3=“¢::'.0¢€< vlc ngre:asios .' -~'

.-.»~"".‘.‘ v ~‘ ~
Af§:';§;‘?; de es\a soclccad, seams AmAN saw JoMAA KHARFAN, JALAL JoMuA xHARFAN y ."; V-"';:‘.;,
~_:§§;::‘Qz stAEL voussel= AsnAu.AH, care f.'.'mor wo ejecu'. .» el conven:o de Fu.<:on en w nomine ""~ ":::_'5
z`§;;`g"’§:§@ asi come para ejecu:ar cualauicr owe ac:o o docume:'.:o e~x -c~lacién con lo an:e.'¢or. d Au*.o.'im¢ "'; '.'. '
;':‘.;;:`S“.‘Tl»é:§;i al LIC. RICARDG SéMvERD, ahogado en ejercicio, can cédula dc iden§idad personal No. 3-63 :.`.' ."‘;.:
1;.1}}=‘\'"§‘ ‘ »3 ,. .‘.

l~e) »'i<_'\:"` 15 428, con domic|uo en le C€udnc! de Co'dn, en cape trace [13) v Ave. Cen\.'a!, Edl.‘icfo plaza '\"""

 

 

-n\,v~'*‘ ._. »
.'»'vw"` :¢: t ` ;._. `<:
‘_'f{‘,‘§;,}',-}B U"iversa\ No. doce, -.-.':o ocho tres ('.2,183). o!lcma Nn. ac?~o (8), Segundo Alzo, con :e¥éfon ~ 11‘.` ..
”~'w\'\‘ ‘ `. ..¢¢ -“
v 1 `".".' , _ v 1 11
B’\“»L‘“l“,»`§g_?_ ¢¢'».~-7950 v 441-7451, pa:a llevar a cabo customer ac'.o coe sea necesano para oreww“la’ . .r`. ?~:»`*
\?i\.ri“ `»\W "\ _`. v\J'.l
,. `\w\'~,` . wm
_g{;.»\`¥\`§‘-`i_§ reg¥st.*ar estc acre de reunlon de acclonistas para pronor\¢.‘r la Fus€én y !Ievnr a cane cun!culq .’j’\" `\`“'\:v‘
L\l' '_". g ~.w.x“""
.. mn*‘~“ . , . ,, ` ‘¢
3`1}%;3_;"‘,;.‘,19 ncta en ".'lec¥o'r con el m~§'r'c una v»:z have s'do ejecu‘.ado nor las varies intc'e.<ada<. f\’ »§-'f'~!~,"}
~;". ' . - 1 . wl '
‘¢f¢V'»'W'\ ,:`:" ` ‘. c -'*:
cg"._:`{f;‘f'?o_ hab!endo o‘.ro asun:o cce dozen <.9 c‘c nos ciau<.e.'eda la rounién. (.":e.) AIMAN SAID JOMA 311 "',‘;f,'..`
`» » _`,\‘NJI 4 _do..,\
1 u\‘» 1" ‘ <
v;,§;;§mz}` xHAm=AN, Pm.rsxosme; (fdn.; JALAL :oMHA s<HAm-'AN. ssanTARxo. ~---~§: summa ;;;- ;':{¥..~.
'z‘¢~_}.-‘;};_‘..`». m ¢-w;.
u-;\t .l `.qu.

~`§,p..:»¢\_-22 JALAL JOMHA KHARFAN 5ecrs!ada de il sociedad GOLOI EL£CTRDNICS, $.A., por est `§,';. '»~`)"i\
. ‘.;1.. "
,r_>.evv»'.23 media cer!mca que lo anterior es ia Ge$ cap\a del Acta de la junka de Acc|on¥stas de la sociedad `v :~*,,*‘."`
.g\ y * .

1 ‘.. \'.»\`F
24` celebrada el via cian {5) de chem de des m|l diez (2010), on la cua| sa encontraban presente\ ',,",,,.,.'.-`

mayorfa da los Accionlstas con derecho a voto. (fdo.) JALAL JOMHA KHARFAN, SECRETARZG .‘§1`\."2-'».¢
6 EL ACTA QUE se msERTA ss LA sIGuIENTE: AcrA DE LA REuN!éN GENERA\. ne AccloNIsTAs ~'h`l"~`j:"'-‘
DE LA sOClEDA!> M<)NTE GRANOE INTERNACIGNAL, 5.A.»-~ El die ctnco (5) de anew de des m!§
v diez (2010). slendo las diaz (10:00 a.m`) de 15 mnaana, se llevo a cabs una reumén genecal de ;'~ "`:'°

los accion\scas de acme cruqu IN'rEnNAconAL, s.n. sedede mganl:aaa y exls:eme de \"*

 

 

confom'\(dzsd con las leyes de fa Rep€xbl|ca de Panamé. en la seccfbn de mfm:pelkula ~\'§_`.,.'.m|'_

 

   

 

 

     
 

v ~' . . . . . .. . ~
\3'.& 1')»‘$\<“;_-13\\ur`_;`n\...\»,,,m\`$ v V`, ,m“'u ` `¢.\‘{_`_N_ ,. ` v ._ _,_“\\~: l m l l :5,.' mg

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L\ N\;.\ .;,, r’¥\\

\'\f`~‘ “"u g s » _ \ \\¥‘ m \A - . “ ‘ v ~\ "’ ` xf%'.#\"*`v \¢" ‘ 'l
. > \ A ' _¢~¢L\). . . . h\'c¥_\ nn _¢~v» ,\k',£ " '.~ ,
§§"n"§'?\?:' ""“:`1`§: L';\O\\\= ¢'\"'s":;'~“ "'“§€f%r¢` o£*“ ` “¢'“.\`Q`&FY:.:. ":".`:` ="‘1’~"" `\`“’~»u.`“~%\ ‘ . '?'\::\‘f\;""‘ `~$f`~"

.¢ \ ` . ~ '. , ,`;1 mg aug " l `.“ - . m ,\
\$L:)Y!\“‘;~lv,£n-GO “eu“»_~ 11`».8_.""'"; l.““¢:,x?;\(\é",“ q.\ `¢¢\.{*\`\;::", , qn\;\.::o“ n`yg\“l \.e` m_..,,\,\ 1 "l'¢,r,
q' n ' ' . . "'

. l.’\\\\- . ' s ul ' . v `<l " ""“
'. '¢ rf'.\‘&"“h “.y,v‘¢\ 'l‘~c“u,j .~n\|l\ \!'-`!».»~uk°"' (`W. .d. \l:' "'“";et `t¢°\"‘ `m".':¢' `L’v"\?\','.*` '“ h:" l :‘ ‘ 4 ` `.

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Pxi\‘ilege-d & Coniidemial

   

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,s. ..,... `.,\.,¢ H\._... _ `_,_,,.. .._z ., _ _". ... c `
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’ ‘ z `w ' °"'"` "` ' " ""`u:r\ ~.\\° "':` “\‘\ \-`\ ' '.|'\e ~\'\ f‘ 6 ’»

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.-'.- ;~\ \ ’ v s 0 ‘:‘ ‘,.\~ .`,2'.2",".`¢~‘\~' g-lc,\u\<¢'#* g t _ § s
-¢ ~ ~ g 'u\\“‘ \¢- .-'»‘ “ 1 ' ‘ ' ..\\ ‘»\"“ ,».,u\'*"` ‘Ff v
=>’£ '= _\ \"" ‘.m.¢i"' 1 ~ *. l"¢‘ ,‘m\m€l > "` ~
"'a’ ' W‘\n, \x-\»'"S`( .¢`\.h"v " aa h
!`_. . ~_ _ ‘i \h"\ .»\..\crd‘ ,\“n 5" gm
’;_ ' 1550 &`_`.,\;\\\ v `, ` tul w r'
t \\.l\hh"\\§dh~,nv\!\`~'v‘;` g . lxg§ ,m\
» 1 .‘ n ' . ~ ¢‘ l - \
. v *‘.».:v.»~: -,:c~:.:`» 1
~ " \. - v ‘ '- ,\ _ ¢-»
1 *h' :<.‘."*“"‘. q` v ~ ;'I\': " `: ¢ ¢.. " "£ '.: :\.:’}v\"§ ¢;.:\"‘ ' s ?t 1
¢,.,_ >-,;.¢ 1 ¢
w m“:~;:.».»;;;z;;,,momnm ppaMgRA ogqpmcwrg pa cpc,_gun.wgg;;`,. .»W ~v-. 1
' wm ‘“n d-:\--~\ \‘i'~‘*“.',` .~.*€h'¥\ \"'-.~"..p;\» ;.¥ "\ ,' ':. \ ‘ ~">"¥\':: :*.\rl\° “"*‘ E:- v \’\' "‘ `. fcia-n a \\.L'¥» ". n 4 _‘\"‘"‘€‘.‘m‘. l'$¥`*"
. m

 

',_-;m ~5_ (mavcanrf¢) del regime names a mm sets warm mere cres s:ete came <§gzazi}, document
’,_,,, w-_\» g unn cuatro nueve wave cinco um des { 1329512}.~-- En diem reunldn estuviemn presentes
l represancadae Fa to%z\¥€dad de las acetones emitidas y en circufactén de la sociedad ¢cm derecho
5§\`§‘_‘;'§’."\`4: vom, qulenas ranunciaron a la citac!én previa‘ E$ 525er AIMAN Skfb JOMAA KHARFAN, actu

a¢`

A.. .3,=‘»'»:_5 wmo presideer de la sociedad de Fa reunfén y el shadur JM.AL JDMHA KHARFLN, actu<§ co
§`l-`. "§`~';\;s secre{ar¥o de Fa reun{én, qulen memo ek acta. El Pms&der\te expreso comm objeto da la ceunién
§H~$"‘-`~§;YZ’~`J decfdlr So!)re la aprobaclén o no doi convenko de Fuslc')n par absorc!én éntre m sociedades
g\i_;'~;"":a <zor.m ELEcTRoN:cs. s.A, y swon <;RAHDE meRNAchAL, s..A., cexebradc nor so
,',‘¢`" "\‘9 dif€€t°f€$ de estes Sociedades con fecha cinco (S) de anew de dog mlf d¥ez (2010), def nu
};‘\..¢.'):;- 10 resu‘.tan‘a come sociedad sobrevw'enm GQLDI ELECrRONICS, S;A.. Oesnués de la debfd
Z"u. '-"~';1" de!imraclén, po.' moc|é»z debidameme orasenta¢a, apcvada v undnin'~crr\enlc aorcbada, s
adootaron las siguientes resc!ucianes: 1. Aprobar ei convea?o de !usién :)ar abso.'c|c'\n env
GOLDI ELECTRONICS, S.A. y MGNYE GRANDE !NTERNAC!CNAL, S¢A,, en 95 Cua\ cunfo'."n
a sus ’,ésminos, es !a sobrev':vlenle GOLDI ELECTRONICS, S.A. v dela de exis:ir HONT
GRANDE !NTERNAC!ONAL, S.A.Z. Quc la sonia def ze.'s.~:do convonlo que Se presen:c‘) y lay

en Fa reunién. sea adherldn a esta ncic para que fo.'me parte dc la mfsma. 3. Autcrizar y facu¥ta

v 51 ‘.

a los oirectores y/o mgna:a.'io<. de es:o sec€ecad. ee.=cres AxMAN saw soMAA KHARFAN §§ §`;Zg.;§‘=
JALAL xomm KHAR)=AN y lsMAe\. musser AeoALLAH, para amy v/o ojecu;er e §§§`§:
.':¢.r-.v¢'-Io m =-,,~<i'.$". en s'..' rc::‘b":. e-‘.i ccch own r:,¢ccule' c,'¢‘.lcu"‘" oer ncic o documents ‘e" ;;`;`;£3:§;;
relacidn con lo anterior. 4 Autorl?ar ai LIC. RICMWO S¥':'MPER(>, abogado en eje'clclo, cor '\§;:‘_§:`.§"\
cédulo de ldentidad personal m’xmero xrcs- sescnta y tres- cuazrocrcntos velnuocho {3'63-428) ;"»`::;;`
. .. . `.

con dom\diio en 1a €ludad de Colén, en cane trace (13) y Ave. Central. Edlfic\o plaza universe " ' '»¢"~

No. doce, uno ocho tres (12,183), of!c!na No. echo {8), Segundo A¥ta, con te\éfono 441-7950 \ ".".‘ §r>'¢\l“’~

 

441*7461. para Hevar a cadc walqu|er aclo que sea necesado para pmtocolizar y registrar est .'...»' \‘ ‘
ada de reunlén de acclonlstas para pmponer la Fustén y ||evar z cahn cua!quier ada en refadé .~
con al mlsmo ana vez haya sfdo ejecutado par ms owes lnteresadas. No hablando otro asunt ‘};‘ §`-.“.‘;f\’:\\:~:
que tratar, se dlo par clausurada ta reun|én. (fdo.} AIHAN SA!D JbHAA KKARFAN ""', -.~.~'\' "“
PRESKDENTE, (fda-) JAL¢L JQMHA KHARFAN, secuerm:o. as mcmo. JALAL sons '.L`§ ~-»w.“.

 

 

 

\l)` ' '“",`\, ".
.l` "_‘:g,. .
mustang secrecarlo du la sociedad name amana mrsnmcxoum, s.A., par esre medrc »,`;'§<_;.“¢;B<.»:=
/~\ .w;,;-'-;.~
certifica que lo anterior es 1a net copla del »\cta de la lunta de Accion\stas/t{§da\ Qdegaq -‘,`.. ,;¢:r ,
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Privileged &' Coof'\demial
J'oint Defense Inf`ormal.\`on

haw ;su~w_i _w.n~`~»¢rr.h ,.¢.§,~ 1
v.v.\#"‘" ' mm §»‘J“'".. .¢ ‘
.,¢» ..*<,, . ..
,q.~ _ ., i. -. ~‘\'° ,_ .\'~.U' ,,H.». .\
.“ ¢`wn` ` l,uk‘-’~"“x“".w»"-~""‘~`¢\;s\ ‘ " ` .,- v \ ""‘“ .-.~.‘ " “"‘ "
‘*~‘ ‘. . N ` ,.,',l\'l’lf‘ t »\‘\\\‘. nw v-" \ _ "~ \ -
\¢\\'-' "" ' .’b»"\"f‘: 1,\.*) ` H§v*.\~¢* "*“,.p#_~'»‘# ",..».u " ` *
. l ». H`._“\r;a»aub.,
b g ,.'_.>»\n-l ._ ~... ,
= .-c - 1 . - :c. .~ \ 1 .
aisl.""\"“ ».v ‘"‘ " ‘*"" h\..~. »“`“":m‘~¥ """ :\ m'~ " l`\w»x\~""‘
\-;51 §>\f.'~ h"¥\ l\“\v!l'$\“""",`fvm q Y‘F“ :`;,; W".“Z;_!;r.\ $'$““
\ » ' ' 101~ ‘ *(u\"
l v\f\ 1.\/ l ~n'~`
` ' c h “'r`: !5`\;\<\-* *‘("'. ma

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g~_.' ",°~

.g qu.‘.'
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",,`)\\\¢n:w~l\ “W\_r,\- ,""'n‘xe' ,\“`\,_` m o' .JN_;
' ’ ` “ 'v:;‘x\-""""‘\`.§ » nix 'l'\'"‘" wmx\»\‘ ‘0""' 's'
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slls'
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"'. . !` » |. ~ \-
_ . ' n . \. ._ ‘. -`,~,' - \.‘m'*\ ’. v,¢,l. ‘ 11,\0'“
w ‘.‘.'.-'~ l *`* °‘. .\“V“ x '\)* m., .. .,»..» ~. . -.u' ,v.
-:m \\'-"*§§',»;w.v"j"'v¢.w‘.¢' ‘,".‘.“} lw\‘“,,,.._.~‘-\~'."‘~€§"£u w '~1‘ §..`“,@m=s"*“; . .f'.~\~~'\‘l*j'~ .;\. n ..w
_, ,.,.\~;gh ¥_,_, “¢~, .*\ - .1\ '\1~ }" .~\_¢¥¢\ fan ,¢u ~.'!l\'\ ...\\. l*¢“ -‘ ., n.'P.' “' ..1 v n \.\5°‘ ¢\ \"~*-*‘*
-_ _¢.._

»1
¢-¢r_ '

“*1`.:,1}'\ celebrada el dla dnm (S) de enero de das mll diez (2010}, en la coal se encontraban presente la *’* " '»

 

 

     
      
  
  
   
    
 
  
  
   
 
  
 
  
  
   
   
  
  
  
    

::§::.:\r\\§*<`g; mayaria de los Acclonlstas con zieth a vc!o. @!dol) IALM, JCMHA KHARFAH, :;\q‘:§:\::‘;
‘C:;§:'~;;“"a. §Ec+u~:ranm. wmata alameda y Renenaada perez newman mm mcmoo seMPeRo. ~~~~~ - § `§f~,,
4:`>`§;:"`?§\ Acm 05 LA neum¢l¢ GENERAL be Acc!omsms me m socxzmm mm mm 1;:`;:”
j,,*l§ m~rEP.NATwNAL MARKET, s.A,~»- el dial am cs) de were de das mls diaz {2010), silence la ‘_F~*"::;;{:‘JJ
§§`~:{\:\§;';*`6 forms a.m.g se llevo a cuba ama reunlcln general de los acclonlstas de ZONA LIBR ‘.:. ;::;,;
§E§lf:\:¥§‘:“:,; lNTERNAT!ONAL MARKE¥`, S.,A. sociedad organ%zada \,' axlstente de conformidad con las ley §§ §#f"(f'.
§§§{:`£ze eis la Repl.’lb!lca de panama en la seccién de mlcropellculas (men:antl\) del renger wbuco "\:`: :;§:;§:'

;m-,.) odds fmha ims seis ties was echo seis fp_$_B_J§§j, rollo seis seis ann <£-i$ amc (‘6§_1§},), lmagen do_

\
:,§'.;»»_»\J:;:E core (g_gj, --- En c"cha muniér~ estuvf:z:on cresenrea v rcpreser:tac$as lo total:'r.lad do las acci-:>no ';:: '~:_'
§:`:E;;__§"§;f:{\;. eml:ldas. y on circulaclé!‘. de la secledad con derec?~o a voto, quienes recur-damn o la citec=é ‘: ;`;‘\;
;;;:§§§J? gravia. El seam Amm sun JOMAA KHARFAN, ama rem presad¢n».¢ ca 1a sociedad de 1 ~; ;5:,‘;_‘
\`:\}§:,:¢;`<1‘°§ maxim y el scm )ALAL JoMHA KHARFAN, acme wm secre\orso de w rcumen, qu:e »'.;':,',"§'\".`=
l '!`.. 1 ~ uv
:::§,£§£3:-:1;1 levanto el acta. 51 Preslceme cxoreso come objeto de la rcun\c‘m. decidlr solve la aombaclén .., `.'§`:i:
;‘=‘\,:5 no del convean de fusion per ausmcl¢n mm ms socied¢de.<, comr eLEcmomcs, s.p.. ’.
.~ v.\. m
,;:§§:;:':§::E§ zoNA mms !NTERNMon/u. MARKET, s.A., webch po» los directors de esra 5`,:,§§
§;':;‘§,‘§';3:7: ssc=cdace< co‘ f¢c!'u cinco (5; de ene'o de doc mll c'~c: (20;0}, col ou.= realize-ia corn ;3';:.',`.2;
§§§?"""l& soc’cs‘ed sob'eviv=c:‘.:e '.'~01.‘>1 ELEC‘-’RONZCS, S.A.. D‘.\s'_“.- _~¢ de l:\ dc_=c-: dbllb/:'ac’é~, co `¥ ~ ¢"*|""

§§;`-`z`»'\";=_'_~j';.$s moc'ér~ deb‘damcv'.e sr~‘-en'.ada, aecva¢a y unioimer»c»\:e r:)'obaca, se ndoc»*. ron le.
` \ . .
s?guicntes resoluciones: 1. Aprcbar el convenio de fusion nor abso:clon entre; GOLD

m. SLEC‘YRONICS, S.A. y ZONA LIBRE INTERNA`\'IONAL MARKET, S¢A., en el coal COn.'Orm€

 

 

sus t€lrmtnl::zl es la snbreviviente 601.01 ELECTRONICS, S.A. y deja de exter ZONA LIBR
IMERNATIONAL MARKET, S.A.Z. Que la oopla del relerldo convenlo que se prescnté y ley
en la munll.‘)n, sea adheslda a esta ada para qua forme parte de la mlsma. 3. Autorlzar y faculta
"’ a a los mrscwres y/o olgnazanos, de esra souedaa, seams umw sam soc-am anaFAu,
JALAL loHHA KHARFAN y ISHA!L VOUSSEF ABDAL\.AH, para Hrmar y/o eiecutar e

_ _ `~r.s‘.'
_ , Convenlo de Fuslén en su nombre, asi memo para ajecutar cualqu|¢r otro acto o documenth a ¥..; ~-"'\‘~`-"
1-1 l" \ °(.' \
l` ._¢,x §.c
‘-~' ;:`.‘.‘<§¢

m
` relaclén cv)n lo anterior. 4 Aulorlza¢ al LIC. RZCARDG SEMPERQ, abegado an ejqrclclo, co

cédula de ldentldad personal nnmero rc¢s' sesenta y tres- cuatmclentos velntiocho (3-63-428)

  

con ' ' ’n z . i, E '."
domlcllm en la Cludad de Colo , en calle rene (13) y Ave Cenzra cel;d€év;a{§`li& guess

 

 

      
 
  

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’- ‘t\»w . "'~ "! ..,_. . . '¢ ` , ". ,

\;11‘\>“‘_ .\m\_"" .‘n»'~- \,`r;¢).u» un ~, . \¢m» \,\, . `.,_ ',»' ` vw ._ wm-
E>§$;?&b;,;%\‘\\hg?$;:! ;\.:_c§?`$-;`¥°*;:“\ :»`\’\`>:’z`;\rz~;i¢" §;1‘§;::\`"\:“\`\:’\:§,{` o ` .- ::» .‘\\"\'vf"')ug' :`S\`%‘\"-.:::,s. ¢1;'»!"::>
\!`~L‘ . mud “ ' o\\'\"" "".\\m\l*l`l’- Wx'vl"‘ ¢.` v *~‘ “ .wr`\¢~'¢ , .w"~~ w 5` . .¥;.-Q\\ ‘ \.\-‘ " '
- *_ \'“"‘ n-_\,l'\N-\“ _ “*l\'-‘ -\ ‘r\l\-\\ ¢.\\‘Jf'f f ; ,.y¢"~' n " , . ' 4 _~‘ \¢,\ . § `.~".\
*w“.:vw;z‘ ~;;;;,:S.;m»;" ‘:i‘m»\ ,~L.§.z: ;:“~:E: .. , * '- ~ f ~" ’ ;:. §§z(§;g§,.." “ *. ..-;g
‘-‘R'\` ' '~\ ' .\‘ '1:¢.¢'- .\¢\ v' ¢.\\ un"\ , 11 § _n_i,':-'|\ ,.‘¢ '
¢'l;"“"'".‘::\t“r¥“°"‘.:-%-'a'\"“”\..gn`:hu"d .‘l\¢r\¢ "'r.‘:..`~' \""' S.'.’.u~\ w ' .’\.\{ f §§Zi:h\» '~§, .'.'~ ."-"

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959 “\_`::(;Bk rc()./O/ F

. »?'
590 __,, ,qy
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Yri\'ilege\{&€unf'xdemial
§5`\ J'oim Defense Inf`ozma![on
“)‘
I'# \
' l .s`,¢_`\`..¢ _ . `.`n q lb ~£ ,<LL¢;\»H "lz»n;‘ `W__`_\~.~.~ ~ .
:"" °' ,~3.' w 2 . ‘ 'f{l;§;$\;'-“ , ,...,`:"7 §°§‘.x\w\"~$‘. ?.y_\'?‘;` ` ;w;rcfj;`=;};,; ~E§ ...»~..‘\, "»’.M +:“"“ ,.“Z`.~.`\:- N“‘ ,.,.M.
¢ . l \ - ` § y
§§ _ \. j . _. t . _. v w~;,:. t,¢aspuauc#ns `P'ANMA\; ::t.. .; ~ j er
\v€ '¥`j `é, : :,.,~.r`w\ ...»n pgpgg§m_»;mmq_m `m._ ,.:m.:;l";` § § th
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" .’ “ .`,`11~' ;= ' 1,\
\\» 13 ' ja ‘~_1' »' . q P
’~" 'i= '*‘ s‘- ,~‘.‘; t m
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,‘T'» §“ s . d lrr ' §§ s }'.\
' '£ , . ._ ,{ \ ’ ,
3 ' ) ' NBW§M ¢dxrqsm‘oaucm;:un$ 3§`9"6'4_613‘ "“ g x §"¢
;::‘.-'.r\~;~=r~ :h i»:r .:\ . ~ -,; ».;.. _ ..- .»»- - ... ..~ .-:..: ~w‘ww ~:::::='»1"-~:
.n\U . " " ` ' "§l;: v v
~~~::;,’,, "¢ Ho. dace, mo och ms (12,183), andrus eeo. echo (a). segundo A\to, con cevéro'no 441~')960 y §;3§3§\5
:-"`4,\5°- _ -\. ..\\' _‘_{'*" '
;;:;.\`4‘.'.':~:_§2 441-7451,, para llevar a cabs cuemu|er acts qua sea necesarlo para protocol§zar y registra; estei §§§r:§\:
4¢-' m 5\.\¢ b
ma k banks `
K§§`::';:¢~xé aaa da maintain de acclcmistas para pmponer §a Fusidn y llevar a calm cuarquler ado en re!ac¢én ,c:§$~:;`\;n
W' , w . du ,
l ~{\.V‘ ;\!\\\`(§ .
f.-_`.`.\_:..‘_.;»» con el mismn ama vel hayes side ejecutadu per rae partes intemsadas. Hcs hai‘/Bmda owe assume ¢i.\`_;.;‘£;;\:;
v ' ` " nunn
¢'~“"", -. " ‘,;~ . -
:‘.;.§»`L._,`S que minn se mo per clausurada 1a reunién. (wo.) AfHAR wm gunn KHhRFAN, 1§§;»,5‘:\;
jr .»_(~`g',‘»':~’ o`\€,:'\.;_`",".,;
\:;;;r.§\._\e' FRESIDEM’E; {fdo.} JM.AL JGMHA KHARFAH, SECRET.ARXO. El svscrlto, JALAL JOMHA "L§ \`I.;;_.;;`§
'-"“‘““\,¢`uv ) ‘¢~;\s»\,
.$?»l-.~\v='*‘ xamm.n seagram de ia mclean zorm mesa xmsnwm:oum. mann s..A», mr esze ;;,‘.’m»§~\_
*:de$" ' `7 'm._»n;‘) a
4 ¢ '_;,"y¢,v~l \` _K\,_`,,_r; d
5'§'~*"‘~..'\“" mele certm<=% mo fo amador es 1a net costa dec hew de ia wore de nccfonismas de va sociedad §r.z.§v';\'.._._\
1';"; '|., ."” ‘:`w\
‘¢n'w °" . """‘; \~’»44
: f¥."u‘. `g ce' .- ‘~rad a e’ d a cinco (5} de e'\e'o de des mit c‘cz {20: 0), e»\a. coal we evcon::abe: o'es¢r~:e 1a 53 '$;\_»“
-\\b'-"`“ . _ ". _» \
. q v ,~,‘ z ~ .
f","¢`.L.';I-\`¢) wayo:ia~ de los Acc’cnis:a< co'z ¢e:ccho a voto. (.'do.} JALAL JOMHA KHARFAN, {fdo.]| :;§;.1-».‘.`
,\ v A.'. " °

    

   
 
   
 
  
 
 
  
  

   

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' `. g\l¥" ` _ ` 5¢,1,\'\
.`3@:\\$\‘;11 sECRETAR¥.O. t¢‘inu:a Refren'.‘ndn y Confccclo“.aca nor el '.i:enclodo R\Car¢o Sempc;z¢.-~- ,,,..§;;;:;L;

¢‘.\r"" \ “` ~ \

`¢\ ¢'\J: , l,g¢\ \l ‘
",-""‘." .'1`2 Eoncuerda con su original. ésta or|mero coaia. mm exo\¢°. nme Y S€"Cr *\0‘! en C°'¢n» R€Ollb"¢a S;;, “f:{.’.:w-
‘\ \\",` 2 .n¢'\¢u-
¢’!' _ ._ _ ‘“ _\.~ '
;»\'§:,:_“," ' de vanamé a seis (5) de enero de 605 rml dlez (20}0).---~"~""'"""' """ ° """"""" ’"'"‘ `,.’{"§:Z~'\`\`\_-`_-';
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“§§'rz:mc mo naco\.

Reg!sua P\')bllca de Panlm&
Dupar$amun!o dui made

Sacr.ibn ss ingrasn do nor.uman\oo
Lugar M»A./ Fecna. Hoca: .#L~_LSO \
Ar.-smo- ._M '7 ' '

1 _ To.'rot 20/0

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Cédu$a No'
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hamm por:._.,,.......__.......

 

 

 

 

   

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\';.\1-":* 441 )V"' \~,. 4~'\¢\'.\1“'" . ,;¢r; \\ v c \ “n\n f 1a ) v. \\\ u\. \ `.
'v" `r~'~\'r;"“ `“\`~."\;o` "' ~` ';': .:$; "‘\"`m` "M%"\"""` 1 .~ .m' ' ¢`U::`\-"" "u\\h-`\‘\v".'-§ ¢\* '“‘“‘“.`.‘,~‘3 \‘ ";.` 's:\»)\':\ '~

b ` l l l \ '
:;: ‘ ,.r:` :-\-»¢_ “‘. w :f\’.‘.,`;' \:n:__s m'w` `»“_ .'.`»~" . ~ `v w\ ._`,, .\<-“'n l _'-? " ` fry u_\“ a \.~ ::mn`;c';“

l ` v g l

.»» "' w e.\)¢ `('\-l 0 "* ' \.;u\s.~x\‘q\r¢..n“ "1-,¢~ '.`., n ‘\"` ' "'\‘“ n ' ‘U'*"G`i`o! !""“R“Z\'-\“", ':n- ,¢s\" '
""""`:: ‘.u;'\"\\'( ` “`:d‘:l~¢|'i';: ',':1’!$ "" m x'~:\'¢ ` \r~ ° ` `\':~'1 ~';"` ».\ " "i" \`! ' \"' ' ‘V*
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am ora.¢“m='c:n'u m ’ ' _
au\f\\l\€fmvzu'\\ ‘ m.¢)& mr .... _...-_...:..,
'M'\\H.-'uu mm \ r. \¢u.>\\'.u\\»\\ca rs mxz¢\. x ,
w»\d‘i<i\n-RL\\$> fm .l'v\ he¢vm.\ s*»l\°~\n.wu\u»r.\m. am ..x.n>\ ~'z:.¢... , P . __
l§“lL\nM.l*N ‘ il (` x 1)’1`\:1 FNKva \'ml‘vm‘\n f \}~ \n-uu.n?mm,v,\um» --,. . nl\lleg¢.dg_. Cmi.d _
guam r?‘;` \ m\,n~\‘ wn.\mwumw um~ wm \m-»~ ;.<.vm,\ wm- m;w nn c mm . . .` .. _,.,_ knower ‘ mm
rm.or.\\c §§ mm w\. r mmrm\'m»ou umw wa uywz\m son ~ m.n.\v ¢m.. ~ z\~\mxe\q;“w, “Ir\focm“on
vl.`w,~).£!.‘,j\ mm r> wumww~lsm rml‘\A'u-\:P\v\.¢z\ M'T.\ku\ xvi \\N.¢ c<\\ m\b \ n-\ »\ \\»rv- .~va\\\r'hw___,,__..“,..v,,_
¥¢‘¢FA§>\€L\)?$_\‘ 9' . ul vm’\mm\s\:c\v wm‘i\<\o$ umw m `bdw%(m.€.wn r\k‘mmol \‘- M w' \.~nw.lm wm u,-n\r. mm ,. _
m_\ Géx¥(d¥ \-'vur\mt~() )1 w gm ' cm mae-umw wm\ \<m.\x-suvmi~'\u m’\.~’(m\ ' »- umwa m u.umn 1-.~\ .~uu ¢--im~
wm ,¢;lk(.t'\_ witwa $OKAMPMW.\oxf.€v.wn~m?.:.o\ ~= +€“\!LR.\MWY§AQ~S\ h -\w\ \*\0\*» wunf~wly.r u\\ u.n-\o\ ~¢ .~»). °~\ \u
»\r\\¥FRA\)rl ¢:tr»l'\!tw;)¥~mwi s sura\»xmr:awx-'_s.¢~mn‘iwm mine mma e¢\ crim \,mmm:m' n name n 3 umvrww ~~»`,¢ »
ut;mu;*.s.c\krlrd»\§w.vu‘né e~‘\\'tmt\m\>m\mr¢.¢‘cé.thou¢umw ~\rrf\\mrk\!~\uwi.i mann d\ ~_-'> w gun-n nu 1 m\-)\oo 41 ` w\u
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EXHIBIT
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Notification (Transmiesion) of Original sent to SWIFT {ACK)

Notwork De}ivary Status : Network Ack
Priority/Dalivery z Nornal
Hcssage Input Reference c l?l£ k10118€APBPAPAAHXXG7SBO1340$
------------ ~~~--------»-~- Hessaga Header »-»------»~~~-~----~~---~

Swift Input x PIN 103 Single Customer Credt Trans£er
Sender : CAPBPAPAXXX

CBPITAL BRNK INC¢

PANAMR PA

Receiver : PNBPUSSNNYC
HBLDS FARGO BANK, H.A.[FORMBRLY KNGWN AS HACHOVIA)
(NEW YORK INTBRNRTIGNAD BRANCH)
HEH YORK,UY US

Hun z LH
~~~~~~~~~~~~~~~~~~~ »~-~~--~ Hcssaga Text ---~~-~~--~-~~#~~~~~~-=»~~~
20; Sender‘S Re€eronce
TR300211016430
238: Bank Operation Ccde
CRED
32Az Val nte/Currflnterbnk Settld Amt
Date z 18 January 201§
Currency s USD (US DOLLAR)
Amount §750, 000. 00§
SOK: Ordering Customar~name s Address
/02202000353

GOLOI SLBCTRONICS, S. A- '
ZONA LIBRE AVB lERA/CALLE EERA
FRANCE EIELD, COLON REP, DE
PANAMR
57A: Account With Institution - Pl BIC
bscnbnxnuxxx ;; _ _
STANDARD CHARTER§Q BANK (HONG KONG) LIHITED
HONG'KONG HK §
59x Beneficiary Customar~Hame 5 hddr
/44716842370 . ;@ .
TCL HOMB RP?LIAHCES §HK) CO. DTD.*
l}/F, TCL TOHER, 8 TAI CHUNG RD‘,
TSUBN WAN HOHG KONG
70: Remithance Informacion
/nzB/PAGO A FAcTuRA PoR COMPRA DE
//MERCANCIA
Ylnz oetails of Charges
SHA -
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{CHK1893A4929417A)
PKI Signature: HAC~Equivalenh
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Category x Nehwork Report
Creatlon Time x 18/01/11 17:07:55
x

Applicacion . szPT Inter£ace
Opecator S!STEH
Text

gl=rz1cnPaPAPAAxxxovssoxa4os){d:(zv?=1101181112)<451,0;(103;LM}3

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Page 9 of 75
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15/01!11-16:52:39 cABEENv~1353~012552 1
- ------------------ xnstanca Type and Transmigsion ~~~~~~~~~~~ »-»

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votification {Transmission) cf Original sent to SHIET (ACK}
Notwork Delivery $tabus z Network Ack
Priority/Delivery 2 Normal
Hessage Input Reference c 1657 110118CAPBEAPABXKXG755013395

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Swift Input s FIN 103 Single Custcmer Credt Transier
Sender x CAPB?APAXXX

CAPITAL BANK INC¢

PANRHA VR
Receiver : PNBPUS&NHYC

WELLS EARGG BANK, N A (FORHERLY KHOWN AS HACHOVIA}

(NBH YORK INTBRNATIGNAL BRANCH)

HEH YORK,HY US

MUR z LH
--------------------------- Messaga Taxt ~---~¢»-~-m“~~m~~-ww“"-~¢~»
zU: Sender‘s Reference
TR300211016441
233: Bank operation Code
CRED
32A: val oce!curr/Interbnk Settld Amt
Date : 18 January 2011;
Currency z 630 {GS DDLLAR)
Amounb 3156, 000 QD!
SOK: Drdering Customer-Name a Address
/022020003553

v GOLDI ELECTRONICS, 5 A. g
ZOHA LIBRB RVB lERA/CALLB ZERA
ERANCE F!SLD, COLON REP. DE
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SGCLCNBJGZR
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GUANGZHOU CN
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/NRA 1605300810102
TCb HUHE APPLIANCES (HK) CO. LTD.
102 NAHTOU ROAD, HANTOU ZHOHGSHAN
GUANGDDNG 528 427 P. R. CHIHA
703 Remittance Information
/EFB/PAGO k PACTURA PDR COHPRA DE
//MERCANCIA
71A: Details of Charges
SHA

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(CHK; 828563€380A3)
PK! Signature: MAC- Equivalant

- --------- ~----~---'------- Intervantions -------------------- »~-~----~t

Cateqory z Network Report
Creation Time x 18/01/11 16:52:15
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{1:F2lCAPBPBPAAXXXO755013395}{4:{177:1101181657}{451:0}{108:LM})

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Case 1:17-cv-02780-T.]K Document22-10 Filed 02/28/19

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--------------------- Instance Type and Transmission ”~~»-~~~~~~~--
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Swifc Input s FIN 103 Single Customer Credt Transfer

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CAPITAL EAHK INC.
PAHAHA FA
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WBLLS FARGO BANK, N.A»(FORHERLY KNOWN AS WACHOVIR)
(NBH YORK INTERNATION§B BRANCH}
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201 Sender'z Referenca
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currency ’ so (u§ po§§AR) "F
Hmount : ' 6150, 000 00§

SGK: Ordering Customer-Hame a Address
102202000353

 

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FRANCE FIBLD, COLON REP. DE
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/260136312178
HfDEA ELECTRIC TR§DING (SIHGAPORB)
CO PTE LTD
10 ANSON ROAD 12- 03 INTERNATIOHAL
PLAZA SINGAPORE 079903 SINGAPORB
70: Remittance Information
/RFB/PAGO DE FACTURA
71A: Detnils of Charges

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--------------------------- Message Troilar ---~-----»»~~~»~~»~-~~~-
(CHH:0474680ABCF9)
PKI Signaturex HAC~Equivalent
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Lebanon ~ Hazm|eh - Mar Rottltoz Street - Al Kuwaitl Bulldlng ~ Ground fines
Tel/Fax: +9615451785 Moblle: +96171399113 Email: sawav§._§§gg@_gm_§iltcom

.lttdgment

Ntmtbcr 32’?
Jtttlgmcnt kilo

Tltc accusatory body in Bcirttt consisting of the judges: the delegated president Fcri;tl
DALLOUL and the two counselors Abir SAFA (dclegatcd) and Bilul milton BM)R

While verifying and reviewing

Aftcr reviewing the appeal lilcc.l by the public prosecution ol`ztppcttl in llc‘trut on l"c.‘brttury l()x
20l6, appealing against tltcjttdgmcnt issued on l"cbruztry l5. 2016 under number 42¢’20|6 h_\
the inquiry judge in Beirut stating contrary to the review to stop prosecuting the following
defendztnts:

 

lp Ayman Said JOUMAA, his mother: l;`.kram. born in 1974. ot` Lebuncsc nationality

2- Mohumud 8an JOUMAA. his mothers [Zkram. born itt 1977. ol` l.cbz\ncse nationality

3- Akram Said JOUMA.»'\, his mother: likram. born in 1956. ot` l.cbancsc nationality

4- Anwar Sald JGUMAA. his motlter: Ekram, born in l%l . ol` l.cbuncsc ntttionttlit)'.

in terms oftlte felony ol` money laundering provided |`or in the third article ot`thc low number
318/200|. first due to the invalidity/termination ol`thc lawsuit of` the public right due to the
passage ol` the criminal period which is three years. Sccond. l`or luck ol`cvidcncc.

And the following delendattts:

5- Sajct.l Akrum JOUMAA, his mollter: l.ei|a\ born in 1987. ol‘ llcbttncsc nationttlit)‘.
6- .lulal Aimtm .IOUMAA, his mother Lcila. born in l987, ol` chanesc nutionztlit_v.
in terms of` the said felony for the lack ol`avai|able legal clements against tltem.

And tlte l`ollo\ving dcl`cndams'.

7~ Ziutl Molmmz\d YOUSSEF. his motltcr: 'l`uwk. born in 1976. ot`l.cbnncsc ntttionttlity.
8- lsmttil Moltamntl YOUSSEF, his mother: 'l`uwlt. born in 1978, o|`l.cbattesc nationality
‘)- New Linc Exchange Trust Compuny S.A.L

lO-Kusscm Ali RME[’I`|, his mother: Assitt. born in 1974, ol`chztnesc nations
l l- Bilnl Youssct` BOI)ROJ. ltis mother: Bodriu. born in l‘)68. of l.cbancsc mt '

  
  

 

 

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ln terms ol`the i`clony of money laundering provided for in the third article ol`the lutt- number
3l8/2001, for lock oi`cvidencc.

llcreby requesting to accept its appeal itt form since it was submitted within the legal term. to
accept it in merits, to revoke the appealed judgment and to question the said defendants for
the felony provided for in the third article ofthe low number 318!2(lt}l, and according to the
article f2it)/ distinctions law regarding the company since the judgment was improperlyI end
illegally rendercd, whereas it appears from all the investigations especially the ones
concluded by the special accusatory body end the public prosecution of cessation that the
said defendants jointly committed illegal money laundering operations resulting from the
drug trade and that these operations were done through accounts belonging to them.

Alier reviewing the indictment decision object ofthe above-mentioned appeal

Aftcr reviewing the review of the public prosecution of appeal regarding the merits
conducted on January 28. 2016,

A.fter reviewing all the papers of the tile,
'fhercl`ore,
First: ln forms

Whereas, it appears that the indictment decision was rendered on Fcbruor)' lSt 20|6 and thnt
the public prosecution submitted its appeal on Februar)l l(), 2016, therefore its appeal is liled
within the legal term fulfilling all its formal conditions which requires accepting it in t`orm.

Sccond: in Merits:

A- Fucts:

On Jonuary 26, 201, news reported on the internct tvebpagc of the US Departmcnt of the
'I`rensury stating that the office of foreign assets control of the US Depnrtnicnt of thc
Treasury classified the defendant Ayman JOUMAA in addition to nine other persons and
nineteen establishments under the “l<ingpin act" due to their association with a drug
trafficking and money laundering organization and that the defendant Ayman .lOUMAA has
coordinated the operations of transferring distributing and selling shipments ol`cocninc from
South Americn as well he conducted money laundering operations for their proceeds in
Europe and Middle East, he also worked with his group in each of l.cbononr West At`rica.
Panama and Colombin, and that his brothers are involved with him in drug trafficking and
money laundering one of them named Al<rttm is the chairperson ofthc board o|`directors and
the monger of the hotel Caecztr’s park hotel that is used by the organization us the
hcadquarter in which it carries out its activity ofdrug trafficking and money laundering and
that Aymon JOUMAA uses three money exchange establishments in l,cbanon for conducting

    
 
  
    

 

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Truc translation oftch Arubic text herewith nttuchcd (originel texl) without any responsibility to be imposed un tts‘rl:'gnrtling'llie` '~‘?~.`L’ /A
veracity of the ¢\rttbic test. '!` v '
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the operations ol` money laundering of thc proceeds resulting from illegal actions these
establishments are l-lassan Ayash Estahlishntent for Exchange, Elissa Estabiishment for
Exchange and New L.ine Establlshment for Exehange,

,As well, lt appeared that the Secretary of the special investigation commission ol`the litmi< o|`
Lebanon Alzdui i~laliz lvi/\NSOOR on .|amtary 3!. ?.Dl l addressed a letter to the governor ol`
Bani< ot`Lehanon in his capacity as the head ol`the special investigation commission no.40-
ll»case l‘)()lig by virtue of which he advise the governor about the above-mentioned and by
virtue of this letter he added that the name of the defendant Ayrnnn lt)lll`vl!\n was
mentioned in the case of ivloltbei Group in terms oftvhat it appeared that he henclitcd from o
check amounting to one thousand Arnerican Dollars,. us at that time the commission decided
to freeze his account at Byblos Banit and that the public prosecutor of appeal decided to
transfer the papers ol` this case to the public prosecution ol` appeal in South in order to do
what is required according to the law no. /3 l S/ and that on Junc tQt 2008. as well the letter of
the Secretary of the special investigation commission included that the Ncw l.inc
Estat)lishment for Exchange and 'l`rust Company are owned by the defendants Ziad and
ismail YOUSSEF and the attorney at law Ziad liBEiCl'lt

As well, it appeared that the governor of Banl< ol` chanon in his capacity as the head ol` the
special investigation commission assigned the Secretary of the commission to investigate in
this case and to audit the accounts of nll persons and companies mentioned in thc report ol`
the office of foreign assets control.

On Novcmbcr 3. 20| l appeared that nn indictment decision has been rendered against the
defendant Ayman JOUMAA by the jury in the district court of Virginia ~ Alc.\'andria
dcpartment, in the United Statc of/\mericn. deciding on transferring the said dclendant for
prosecution regarding the crimes of money laundering and drug trafficking

As well, from the reports made by the Secretary of the special investigation commission
regarding the results ofthc audit appeared the follo\ving:

l- As for the defendants lOUMA/\ Gronp (Ayman. Al<ram. Anwar and Mohamoct)
appeared that the movement of their open account in several Lebanesc banks since 1998
did not show any transfers to and from abroad, and that these accounts. most ol`tltem.
were being supplied with funds through checks and the treasury security bonds` dues in
Lebtmese pounds and that the ongoing movement of deposits and withdrawals arc
ordinary,
ln 2006. the two accounts of both defendants Ayman and Moltamad JOUM/\A at the
chancse Canadian Bank were supplied with l8 checks front l-lossnn Ayttslt
Estab|ishment for Exchange amounting to /5.308.000/ American Dollars. this company
stated that it delivered these checks to two ol`its clients l`or purchasing foreign currenclcs

 
  
 
 
 

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from it9 since at that time it was unable to obtain cash from the Lehancsc Canadian liani<.
and that the two clients ore hayai Company located in Chtoura and another clicnt. as weil
it appeared that the movement oftheir accounts during 2006 until 20% i in different banks
were mainiy suppiied with transfers among them and that the movement of the accounts
did not show atty transfers to and from abroad and that the cash deposits and rvithdrtr\vais
as for the movement of the accounts is ordinary according to what was mentioned in the
report no. 513-li

2» As for the two defendants la|a| and Sajed JOUMAA appeared that following the issuance
of the report of the office of foreign assets control` their father the defendant Ai<rom
JOUMAA deposited his account balance at BlsOivi Banl< in two accounts under the name
of his two sons julai and Sajcd. and when the said bank requested to withdraw his funds
he withdrew them end deposited the same at Credit Libanrtis under his own naznc. and it
did not appear form the personal account of each of them that any unusual deposit
operation occurred to and from abroad,'

3- As for the defendants Ziacl and ismail YOUSSEF and i\lew Linc littohang,c trust
Cornpany S.A.L. it appeared that it was established in 2003 between the two defendants
Ziad and lsmttii YOUSSEF and the attorney at law Ziad l'|BiilCil. and it was managed
by the defendant Ziad who also has the right to sign on its behalf. its activity is about
receiving cash funds in doliars and Euros from traders working in Vene'/.ucia and (ihuna.
and it sell cash funds to both Moktcv and Ayash Exchztnge companies so these two
companies transfer the equivalent value of the money to the contprmy`s accounts tit the
l,ebanese Canadian Bank, and according to its clients‘ requests it transfers funds to
companies imports eonsumablcs goods most of them in the liar t".ast and that through its
accounts at the chancse Canadian Bnnh and Bnnk of Beirut and the Arob Counlries. it
sends thc goods purchased by the money coming from the transfer to Vcnczucln and
Panuma and that the funds are received from Venczueia in dollars due to the difference of
the Venczuclnn bolivar rate compared to the dollar, between the official rate and the
black market; as weil the report made by the Sccretary of the special investigation
commission mentioned that the total remittances abroad. the price of goods purchased to
its clients, reached the amount /l7/ million Arncrican dollars. while thc report of thc
office of foreign assets control indicated that he amounts of money laundering is up to
/200/ million Amcrican dollars,, and that this report remains incomplete regarding
whether the commission is not being provided with the information available in this case
at the office of foreign assets control, us weii the movements of accounts did not shots
any transfers to and from abrood.

4- As for both defendants Bilal |.IODROJ and Kasscm RMEl‘l`l. it appeared that thc name of
Bilal HODROJ was mentioned within the context ol` the notice received from the

 
  
  
   

 

 

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the owner of Hodro_i Excbnnge Cornpany, and from the revision oi` the i.cbttnese
Canadian Bank it appeared that there is two accounts one in the name oi' i'iodroi
Exchange Company and the other in the name of Bilal i'iODROJ. as wcii it appeared that
there is two closed accounts at the said bnni< in the name of hosscm RMEI'[`I and ltmciti
& CO., E.\'chttngc.

As well., it appeared that i‘iodroj linchangc Corrtpany was receiving cash money from
Lebanese traders in Africa end depositing the same in its account et the i.r:httncsc
Canadian Bank, and then transfch the money to the US as the price ol` the cars that nrc
being shipped from there to the dealers in Ai`rica, disc it appeared that Kasscm Rmciti
Cornpnny received cash money lii<e iiodroj Company and made the transfers through its
accounts at the chuncse Cnnadiun Bnnk to thc US. (icrrnany and Ch'too as thc price ol`
the goods that arc being imported l`ot‘ the deutch in At`ricat

lt appeared that Ayash Cotnpany end El'tssa Company both mentioned in the report o|`the
office of foreign assets control, used to deal with the exchange trade and money transfer
like New Linc Compnny and both l'iodroj and Rmeiti Companies. as wcli the special
investigation commission concluded to draw their accounts and to put buck the bank
secrecy upon thctn.

A!so. it appeared that the tile made by the special investigation commission was
transferred to the public prosecution of cessation where it was decided to conduct the
necessary investigations and despite the requests sent by the public prosecution of
cessation to the American Authorities regarding providing it with the documents papers
proofs and evidences that are kept with them concerning the chanese Cnttadian Bank
and thc indictment decision issued by the jury ot` Virginiu County. the Amcricun
authorities did not take the initiative to answer to the request ol`the public prosecution of
cessation and in' the reply of these authorities was mentioned that currently they cannot
respond to the request ofthe Lebanesc judiciai authorities since thc required evidences
are related to cases that arc still pending before the US judiciary.

Dttring the interrogations
lt appeared that all the defendants denied what is attributed to ti)crrt.

The defendant Aymttn Said JOUMAA stated that he used to work with his brothers in
Venezucin in clothing trade and that they were separated from each other in 2000. itc
started trading with electronics, he returned to Lebanon where itc stayed until 2010 and in
that year he traveled to Vcnezuela in order to obtain the nationality over thcrc. us well ltc
added that what was mentioned in the report ol`thc othce of foreign assets control issued
by officers in the US Depanntent ot`thc 'l`rcasury and not by o judicial authority. as well
he stated that he is familiar with thc object ofthe lawsuit under which hc is prosecuted
before the court of Califorttiu in 201 |, and that while trying to obtain rt visa to the united

 

 

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state of America in order to follow-up with this lawsuit his request was rejected and that
he and the defendant ismail YOUSSEF managed to meet representatives from the llS
Drug Enforcement Adtninistration in Panama and that they only asked him about his
autobiography as well they told him that they knew that he has nothing to do with drug
trafficking nor financing i-lezboliah.

lie continued that his brother in lebanon h/loharnad has sold his establishment in
Venezuela and delivered the money to him, in return he gave his brother in lebanon thc
cquivaicnt value to what his brother handed him due to the difficulty of transferring the
money front Venezuela. he added that Robert El,lAS owed him money so in return he
gave him a chele paid and endorsed to the order of llussein MOK|Z[£L. and that he
deposited this check in his account and the balance entered this account\ then few months
later the bank frozen the value of this check on the grounds that il resulted front stolen
money in Dubni, consequently he could not obtain a license to establish an exchange
company as the bank of l-ebanon rejected his requestt therefore he funded his relative
Ziad ismail YOUSSEF in order to establish the New hine Compony on the basis that
when the issue of the check ended he become the chairman of the board ol` its directors
and he concluded by saying that his accounts and the accounts of his brothers were frozen
only alter about three months as of the date of publishing thc report of the office of
foreign assets contro|, and that if they have any bad intention. they \\otild have
withdrawn the funds from the banks, in case they resulted from illegal actions.

"fhe defendant Mohamud Said .|OUMAA. stated that he had an establishment in
Vcnczttcla but he sold it in 2006 due to the difficulty of \/cnc'/.uelan currency exchange
and gave his brother Ayman the equivalent of one million Amcrican dollars. who has
requested to deliver this amount to one of his employees and in return his brother in
Lebanon gave him what is equivalent to the value by virtue of a set ol`chcclts. he added
that he had other previous accounts in l.ebanese Banks equivalent to two million dollars
and that in 2009 he established a cht A Car Compnny and began moving his accounts

'[`he defendants Aln'am Said .lOUM/\A denied what is attributed to ltim. he stated that he
and his brother own commercial shops on thc \t'cnczuelan » Colotnbian bordcrs. and that
he returned to chanon in 1994 and itt 2000, and that the shops were divided between
him and his brothers, and he brought his share of money to l.cbanon and deposited in nn
account at the BBAC Banl< then he transferred it to the Lebanesc Canadian Bunk. also ltc
stated that he owns and manages an hotel under thc name of Ccacar‘s l~iotel and that he
handed over its management to his son the defendant Jalal until 20l4. as he gave it to
third party as an independent management

He added that upon the issuance of the report of the office of foreign assets control. thc
administration ofBLOlvl Bank asked him to come and to put thc funds in the name of his

 

 

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two sons laird and Sajed and then the administration asked him to withdra\t' the money
so he withdrew and deposited the same under his name at the Crcdit l,ihanais. without the
name of both his sons,

'fhe defendant Anwar Said lOUlvi/\A stated that after dividing the shops in Co|omhia
with his brotherst he brought his share of money to Lebunon and deposited it ot the BMi.
Bani< tBani< Egypt chanon) then he transferred it to the Lebanese Canadian think and
that he has spent holfof the amount since he works in agrieuhure,

Both oftho defendants Ja|oi and Saied .!UUMAA noted that they have nothing to do with
the report of the office of foreign assets controi and that their i`nther upon request ofthe
Banl< deposited the funds in their names and then deposited the same in his personal
name, Jnini added that he graduated from the university in Switzeriand in ZUU'? and
returned to Lebanon where his father Akram gave him the management of the hotel untii
2014,

Both defendants Ziad YOUSSEF and ismail YOUSSF.F in his personal capacity and in
his capacity as the representative ol`Ne\v l.ine Company what was attributed to them and
to the compauy. and they stated that the capital ol`t|te company is funded by their rcintive
Ayman JOUMAA since the bank of Lebanon rejected giving him a license in his name.
as weil they added that the company was receiving money from the traders in \/enc;'.ucin
due to the difficulty of transferring money to China and other countries the company
used to exchange the money through Moktev E.\:ehange Compuny and Ayosh i£xchange
Company and the amount is transferred to the company`s account at the Lebnnese
Canndian Bank and then upon request ot`cttch trader the money is transferred to China
and other countries in order to purchase goods that are being sent to the country us
determined by the trader,

The defendant ismail stated that he learned front friends about the report and that he tried
with Aymzm JOUMAA to obtain a visa to the United State ol` Amcriea but their request
was rejected and that they met in Panama representatives from the US Drug iinforcemcnt
Administration and that they only asked him about Ayman`s autobiography.

As weil in his turn the defendant Kasscm RME|'i`i denied what was attributed to him. and
he stated that he is the owner oi` an exchange company and that he \\-ns working
according to the terms and conditions of bank of chanon, and that he was receiving the
funds from his clients in order to transfer litem abroad as the price ol` purchases and that
he used to write on the document of the transfer all whitt is required such as the nature of
the client`s activity and the reason ol` transfer and that he transfer the money from his
bank account at the Lebnncse Canadian Bank or through other exchange compauy. as
well he added that he has nothing to do with this case and that the bank ot` lebanon

 

 

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informed him through the Lebrtncsc Crtnadian Bank about freezing his funds knowing
that his account and his company’s account are closed for more than six months with no
haianee in thcrn.

As weil, the defendant Biitti iiODRO} denied what wus attributed to him starting than he is
the owner of an exchange company and that he has an account at the l-cbonesc Cnnndiun
Bonl<, and that he was working according to the laws and the applieohie provisions of
bank of Lei)unony end he added that he was receiving his funds in cash or hy virtue of
money transfers from clients known by him in Africa and Europet and that he was
transferring these funds to companies located abroad in order to purchase cans for these
traders, and that the transfers were made icgaiiy end in accordance with the rcguiations
and as per the terms and conditions of Bank of Leloanon and try virtue of documents rts
weil he stated that he has nothing to do with the other defendants and itc was not dealing
with them,

lt appeared that the defendant Ayman .iOUMA/t submitted a hrieftrough his attorney by
which he attached a document according to judgment rendered hy the inquiry judge
deciding on assigning someone to trunsiate the documents issued in iingtish tongueth
concerning transferring the defendant to the court of Virginitt,

As well, it appeared that the defendant Mohamad JOUMAA submitted documents
showing establishing a company between him and the defendant Anwar JOUMAA in
Venczuelo in 2000` as well the defendant Akmm JOUMAA submitted a copy of the
income tax statement for companies end a copy ot' the royalties of Ccncur`s t’ark Iiotcl
for 20t3, also the defendant An\var JOUMAA submitted documents showing that he
carried out agricultural works since 2005 and that he purchased in 2002 several
agricultural equipment for this purposo,

On April 8, 2016. the defendants their attorney - the attorney nl iaw italie Gi-lANlEi\/i.
submitted tt bricfattnehcd with three icttcrs sent from the US Depttrtutcnt ofthe 'l`rcnsur}
to the defendants Akram. Mohomzid and An\var Suid JOUMAA. which included thttt:

“According to the information currently avoiiab|e in the office of foreign assets controi ot
the US department ofthe treasury according to determining the heads of foreign gangs of
drug trafficking you currently do not fulfill the criteria set for classifying you according
to the said la\v, and we hereby inform you that as from this datc. you are no longer
classified ns a drug dealer who is particularly delincd. and therefore thc sci/.urc on oil
your assets and properties which were frozen due to classifying you as a drug dealer who
is particuiurly det`tned, therefore you are allowed to get engaged in any icgul transactions
with American peopie,

 

 

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Sooit, tt notice will be published on the \vcbsite ol` the US department ol` the `|`reostir),‘
regarding removing Altrttm Snid .IOUMAA from the list ol` the ol`l`ice ol` |`orcign assets
control t`or persons end citizens who ore particularly classified us n~cli this notice t\»ill be
published in the liedcrzil chisier and in lite ollicinl bulletin ol`ilic Antericzin government
in the United Stnte oi`Amcricti.

On lime 22, ZGlo, the defendants their attorney ~ the attorney tit low Rttm'/.i Gi'llt/\OUI.
submitted o brief attached with the copy of the judgment issued on Jurie ‘Jt lelo by tile
special investigation commission oltiie Bzml< cl l,ebzirion number ll?$il?!?{ii(i. stating
on drawing the accounts owned separately or jointly ttnd directly itt oil the banks and
i'inancial establishments operating in l-ebtuion._ end to pitt back the bank sccrec_\ on them
towards the competentjttdieinl nutiiorities, and to delete the expression “trttceti‘nle" from
the accounts ol" each of Al<ram, Anwttr and lvloliamad Soid .lOUlvl,¢‘\/\t and lttlttl Al\'rztm
lOUM/\A, Stijed Akrtim }OUMAA and Al`tl`tt l\/iohamttd l\)iahmotid .lOl,llle/\. tuid
which was based on the letter oftlie US financial intelligence unit number !26254‘)/ dated
lvlay 16, 20l6.

On Oetober l9, 20l6. ajtidgmcnt was rendered by the commission sittting on expanding
the investigation and:

l~ Assigning the head ol` the Central Drug Etiforccmeni Admitiistrntion to submit to the
commission ti copy ol`ihe previous minutes made against the defendants mentioned in
the report issued by the DEA under number 3785/207 on Scptemhcr |-l. 2015.
addressed to thc public prosectitor tit the court ol` cessation . ttnd ti copyl oi`tiny other
minutes that may be made against any ol` the del`endants. Aymon Said JOUM/\A.
Moliamnd Said JOUMAA, Al<ram Said lOUMA/‘\. Anwnr Stiid .lOU\\'l/\A. Stijed
Akram JOUMAA. Jzilal Akrtim JOUMAA` Zind |violtamnd YOilSSl§l". lsrnttil
Mohzimad YOUSSEF. Ne\v l.ine E.\'chtinge 'l`rusl Comptiny S./\.l,.. l\'tissem /\li
RME|T! and Bilnl Yotissel` GiZORG|?,S regarding moneyl laundering iind drug
trafficking and smuggling

2- Writing a letter to the special investigation commission in order to provide thc
commission a copy ol`tlie letter oftlte US lintmcial intelligence unit ntimber/26254f)/
dated May l(), 20l6. mentioned in its decision number /25/!2!20l6/ dated Jnnc 9.
2016.

On October 29, 20i6, copies ol` the previous minutes made against the defendants were
received l`rom the Central Drtig Enlorcemcnt Adminisiralion.

On Jantiary 16, 20|'/', the reply of the general secretary ol` the special investigation
commission was received through the public prosecution ol`ctisstition which included than

  
 

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the US financial intelligence unit ti~`inCEN} stated that in order to obtain a copy of its
letter no. 126254§/ dated Mey 16q 20l6 and to use the information therein mentioned in
any judicial prosecution it is required to write a rogatory letters tlctters ol` judicial
commissions) in this regard to the Ol`iice oi` international Ai`l`airs at the US l)epanment of
iostice,

B~ Evidences:

'fhe following evidences confirmed the above~mentioned facts:

- A copy of the letter of the Seeretary of the special investigation commission of the
Bank ol` chanon /\bdn| i'lai'w. M/\NSOOR addressed on .laouary 3i. ZOtZ to the
governor of Hani<,ol` Lel)anon no.¢lf)~i i-case 1998

-» 'i`ite resuit reached by the Generai Secretary oftite special investigation commission
ofthe Banlt oi`l.ebanon,

~ The briefsubmitted by the defendants on Aprii 3. 2016 and thc documents attached to
it, in particular the correspondence sent to the US Departntent ot`the 'l`reasury.

» 'l`lte copy ol` the decision issued on .iune 9. 2016 by the special investigation
commission oftite lianlt ol`l.ebanon. no. l/25/l?1'20l6.

- The overall course ol`the investigation and lawsuit,

C- ln an:
thrcas, this commission secs the review ofhow this lawsuit evolved and the sequences
of its events as the result to say whether there was enough evidence against the
defendants in order to accuse and indict them with what was attributed to them.

Whereas. it appeared from referring to the facts that a news published on .Ianuary 2(').
201 l on the webpage of the US department of the 'l`reasttry. stating that the office of
foreign assets control of the US department ol` the 'I'rcasur_v had classified the defendant
Ayman JOUMAA in addition to nine other persons and nineteen establishments under the
"Kingpin Act" due to their association with r\ drug trafficking and money laundering
organization, came to the knowledge ot`the generai secretary ofthe special investigation
commission who immediately informed the Governor of Bank ol` |.ebanon about it who
assigned the general secretary to conduct the investigation in this case and to audit the
accounts of all persons and companies mentioned in the report of the office oi` foreign
assets control\

Al`ter the investigation and audit conducted by the general secretary of the said

commission, he concluded that:

- 'l`he ongoing movement of deposits and withdrawals on the accounts t)i' /\yman.
Altram. Anwar and Mohamad JOUMAA which are open in several l.ebanesc lianlts
since l998, is ordinary and no transfers from and to abroad appeared as \\'ell these

      
 

 

 

 

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accounts most of them, were being supplied with funds through checks and the
treasury security honds` does in |,chancse po\tnds. adding that their accounts during
2006 nntii ZOH in different banks were maini§~ supplied with transfers among them
and that the movement ol`thc accounts did not show any transfers to and from abrond.
and that the cash deposits and withdrawals as for thc movement of the accounts is
ordinary according to what was mentioned in the report no. 513-l i

f~oiiowing the issuance of the report of the office of foreign assets controi the
defendant /\itram JOUMAA deposited his account balance at BL()M l%anl< in two
accounts under the name of his two sons the defendants Jaial and Sajcd. and when the
said bank asked him to withdraw his funds he withdrew them and deposited the same
at Credit l.ibanais under his own nnme; the general secretary of the commission
concluded by saying that it did not appear form the personal account of each ot`tltetn
that any unusual deposit operation occurred to and from abroad

/\s for thc defendants '/liad and ismail YOUSSEF and Ncw i-ine l£,\‘chtmge trust
Company S.A.L, the general secretary of the commission noted that the report made
by the Secretary of the special investigation commission mentioned that the total of
the remittances to abroad as the price of goods purchased to its clients. reached the
amount of/l7/ million American dollars. while the report of the office of foreign
assets controi indicated that the amounts resulting of money laundering is up to /200/
million Americnn dollars. and concluded that this report remains incompiete
regarding whether the commission is not being provided with the information
available in this case at the office ol` foreign assets control. as well the movements of
accounts did not show any translch to and from abroad.

As l`or both defendants lillal l-lODROJ and Kassem RMlZi'l`l. it appeared that the first
one is the owner of l-iodroj l£xchangc Compuny, and from the revision of the
l.ebanese Canadian Banlt it appeared that there is two accounts one in the name of
|~lodroj Exchange Company and the other in thc name of Bilal l'lODRO.|. as weli it
appeared that there is two closed accounts at the said bank in the name of Kassem
RME|T| and Rmeiti & CO. Exchangc, also it appeared that liodro_i Exchange
Company was receiving cash money from Lebanese traders in At`rica and depositing
the same in its account at the chanese Canadian Baltk. and then translch the monc)l
to the US as the price ol` the cars that arc being shipped front there to the dealers in
Al`rica, and it appeared that Kasscm Rmeiti Company received cash money like
Hodroj Company and made the transfers through its accounts at the I.chnnese

 

 

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Canadion Bnnl< to the US. Gcrmnny and C|tina us the price ot`the goods that ore being
imported for tito dealers in /\i`ricn.

~ As for /\yosh Cornpony and Elissn Companya both used to dent with thc exchange
trnde and money transfer like Netv Line Corrtpnny end both llodroj end Rmciti
Cornponios, and that the special investigation commission concluded to draw their
accounts and to put back the bank secrecy upon them.

- Wltcrces. it appeared forro the conclusion reached try thc general secretaryF of the
special investigation commission that "titc investigation and thc nudit" both
conducting by him did not lend hint to obtain any evidence that confirms the
authenticity of tire contents oftlte report ofthc office oi` foreign assets control. but on
the contrary he reached on opposite conclusion stating that the movement ol' the
accounts is ordinary and did not show nny transfers from abroad us for the defendants
Ayntnin Akrnm. /\nwnr end Mohamztd .|OUMAA` and thnt the funds in tire two
accounts ot` both defendants taint and Sn_icd JOUM/\A were returned to their titthcr's
account tire defendant Akram JOUMAA, whereas it did not appear form the personal
account of each of them that any unusual deposit operation occurred to and from
abrond, niso it did not appear from the accounts of the defendants Ziad ttnd lsmnii
YOUSSEF and Ne\v Linc Exchange trust Company S,/\.l. that nny transfers occurred
from and to abroad. thc special investigation commission concluded to draw the
accounts ol` Aynsh company and Elisso company und to put back the bunk secrecy
upon titcm. and the funds that entered in the accounts ot`botit oi` thc defendants Biiu|
HODROJ and Kassem RMEiTI and their companies resuited from receiving cash
money i`rom Lebsnese Trnders in Africn', the general secretary ot` the special
investigation commission emphasizes on the necessity of providing the commission
with the information available in this case at the office of foreign assets control.

Whercas. despite that the general sccrctar_\l ol`thc special investigation commission failed

to i`tnd the evidences that confirms the content o|`thc report of thc of licc ol` foreign assets

controi and despite that his commission was not provided with the information provided
at the office of foreign assets control, the special investigation commission decided on
transferring the file to the public prosecution ofcassation.

Wherens, it appeared that tire public prosecution ol` cessation contacted thc Amcricnn
Authorit`tcs requesting to provide it with the documents pnpcrs. proofs and evidences that
are kept with them concerning the Lebttnese Canadinn Bank and the indictment decision
issued by thejury ol` Virginia County. however the Amcricen authorities did not take the
initiative to answer to its request so it requested to transfer this case to thc public

  
 

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prosecution oi` appeal in Beirut which claimed before the inquiry judge by virtue of the
request object ol`tltc present ln\vsuit.

Wltereas, the inquiry judge listened to the defendants whose denied what ives attributed
to thems '

Witcrens, it appeared that the US department ol` the ”I`reasury contacted the defendants
informing them thnt both ol` Aitrnm. lvlohamnd and Anwnr Said lClUiviA/t were no
longer classiiied as drug dealer delincd in pnrtieular. and that it |il`ted the seizure on nil
their assets end properties which were l`rozen doc to classifying them us o drug dealer
tvlto is defined in particulnr, and allowed them to get engaged in any legal transactions
with American people,

Whereus, according to the above»mentioned, a judgment rendered by the inquiry judge
stating to stop the prosecution against the detendttnts.

As \vcll, it appener thttt the public prosecution in licit'ut challenged the judgment oi` the
inquiry judge requesting to rescind the appealed judgment since it was improperly and
illegally rendered, relying in its appeal that “it appears from nil the investigations especially
the ones concluded by the special investigation commission and the public prosecution oi`
cessation that the said defendants jointly committed'illegal money laundering operations
resulting from the drug trade and that these operations were done through accounts belonging
to thcm“. without determining the evidences on which its rely in order to ask t`or annulling
the judgment ol` the inquiry judgc, or explaining how the investigations that it mentioned
show that the defendants committed what was attributed to lhem.

Whereas it appeared later on, specifically on .lune 9, 20l6, that the special investigation
commission in the bank ol` Lebanon decided (deeision number 1/25/12/20|6) to draw the
accounts owned separately or jointly und directly ut nil the banks and litu\neiui
establishments operating in l.chanon. nod to put back the bank secrecy on them towards the
competenl_iudiciai authoritiesl and to delete the expression “traceable" l`rom the accounts ol`
each oi` Akram, Aowar and Mohatnttd Said JOUMAA, and Jalal Al<ram JOUNIAA. So_ied
Ai<ram JOUMAA and Afit`a lvlohamad Maltmoud JOUMAA. relying in its decision on the
letter oithe US financial intelligence unit number /262549/ dated i\/lay l(). ZOIE).

Whereas it appeared that this commission namely the accusatory body in licirut. requested
i`rorn the special investigation commission to provide it with the letter oi` the US liminequ
intelligence unit number /262549/ dated May l6, 20|6, which it is supposed to he seen and
based on by the commission regarding drawing the accounts ol`the said del`endnnts. however
the investigation commission replied that in order to obtain a copy ol` this letter it is required

 
   
 

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to write n rogatory letters (letters oijudicial corninissions) in this regard to the Oi`t'tce ot`
international Al`l'airs at the US Dcpttrttnent oiiusticc.

Whereas according to the above-mentioned and briclly, this lawsuit has arisen due to the
news published on the wehsite olthe US Dcpartrncnt oi‘ the 'i’rcasury, without obtaining the
evidences on which this news relied on` or the evidences on which the Coutt ol` \/irginin in
the United Stotc oi` Americu relied on, without the cooperation of the authorities ol`this letter
with the Lehnnesc judicial unthorities. and without providing thc l.ehuncsc judicial
authorities with what they requestedv

Whercas, in the absence ol`eny evidence that would indicates that the defendants participated
in committing what was attributed to them, and accordingv to the conciusion reached hjt' the
general secretary oi` the special investigation commission and which is explained in details in
the paragraph ot` the facts and bricliy explained in the paragraph ol` the ln\.v. the
correspondence with thc US Depnrtntcnt ol` the 'l'rcasury in respect ol` iil`ting thc seizure on
the defendants JOUMAA. and thc decision ol`thc special investigation commission regarding
drawing the accounts ol` the defendants and putting back the hanit secrecy upon them: the
evidences obtained from the previous minutes ol` the investigation which were made against
the defendants by the Lebanese judicial police as well the news published on the \vchsitc n|`
the US Depnrtrncnt of the 'l`reusury are insufficient and inadequate regarding questioning and
accusing the defendants in the context ol` the present case which requires stopping thc
prosecution against the defendants dire to the luck ol`cvidcncc‘ end consequently to rzttil’v the
judgment ol` the inquiry_iudge following the reasoning set out in this judgment.

Thcrefore,

Thc commission decides b\_/ ngrccmcnt:

l- 'l`o accept thc nppcnl in l`orm. to reject it in merits and to rutil'y thc ttppculcd judgment
stating on stopping the prosecution against the defendants due to the luck ol`cvidcnce.
following the reasoning set out in this judgment,

2- To preserve all l`ces and expenses

3~ 'l`o preserve ali pupcrs,

A judgment rendered by the deliberation chamber in Bcirut nn tlununry 31, 2017
Thc counselor Bilttl Adnun BADR (Signnturc)
'I`he delegated counselor Abir SAFA (Signuture)

'I'hc delegated president Fcriul DALLOUL (Signnturc)

    
      
      

 

 

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AJJWQ.L;§H£»}}L“.§ io.j_gi..ol.$‘.s£§ (DEA) ,_;dmgl\;¢\_)..£_e'cu dx§i§a\.u§.cgyaupjm d».§.g\£.aw;
xn_._ -,/\ smi»_n)>~LL).u_@x_stiw)q~dd£§&¥ubo¢k§,iswldji_g.§bj@

` KWML@>LMGLSWH@MUW@MQME@
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’ 3 M,Muwwztwmdgmvamiémwm
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mm L=~w» iii wm QMYMWM¢W¥MN cile ~>L;z w,»édg}@ ¢Gé wash-§
».1-4-.=3 vi M-Mi =»W»e ‘=U‘QL»» ch d.+il‘ J! ‘.»‘=-B.s 1@1»§ M-.v MH; r¢~“e wi way
<jlj.$£ \W \351$ la §§.MN.U agij mg (ofac)wasyw BIJ¢»WM 3.3§£‘; (=§§P. .s_z.; s1
‘HWSJ¢JM wwww .@,mv .;»»

¢L‘Lef-WAM¢M@§§W§»MQJSM§LM+WMQSJMQ-m
c_;.us ,H;,,A;.zy ,;,5.,¢,¢¢5,»1,4_@ wl ¢aé.:_;,uxgi,up}ms wmva \,w v. .w
h}»-?-» ~.A-.>w led cady v ¢Lw.l § M»ii=¢¥ J¢Gllga w mbh-li ~\~»9 941 HJ»»° 4b
e\-= 433 .»`J.e¢ JHL= c.s)*y` ~w\-».J »§JL¢~» § law LSF" mm wl o!SML. \-§L“‘»b ¢¢»\S¢_¢¢
.JJ\.;L“Q- ¢L»J,.z:.\ i.!.¢j c.\EJL..w_,L-»i,: RS_,.£¢ u».~i \‘~ »°\

¢,>lm¢§ a.¢\$¢.u~ U\s.vi pub ¢§J} .»M\ L..\...»w.~ mfg mg ucm,_<.t,
¢_A¢va. . . ¢L», ma ¢x.p@¢u,s¢_;g¢uu, .W$J,sn <._3._,,~\¢51 .>,.».,=)\ alcva
sm, .-.3,~4# ._4.\) »_Ju..~. g wg\,¢u_.: di ,J..:»! WG,_;.[§JJ\ Ju.\$ ¢,)L»u uu_.z¥
gm ,»L.q.u'j .W.§ ,1;._»» ,w\, bmcu.¢,;,\sm, §.u_<.n cs,aw+u\¢u,.)\g\ am ,u~ a__u,,n
.s,,=!z sjt¢\;\¢él_»uu¢:.nm¢.=i 51 .¥. \z.`,w\‘;\, J>\Q.¢g$,_,¢m gm

w ~,d&= die ,»:.=»Ab owl ¢Lv S.»bl 445 w L_w-w\ (r)fac) y,>==»' pp wu w Q’L¢'=Ls
‘-<f-~‘s\a W ‘d\.z-°Y\ ~.-'M 5_)‘~>?“ 414 ¢~ell= \-'»-\-#-§3 -\-.~st J'>Le 4-1~\13 ¢-Le JLz-°`=’\ ¢~_-¢"=.9
.4.3,\.}_9 \¢.w\ 033 g,iij.I§ JL¢J.:DI\ \.'.L'u 643 ¢L¢-w\.g

fha .L,.,,.,J,s¢_§\;.>\_xu suit 5 raw L..J..,_ 431 aw.m,,si w@m L;A_,
“35&*+“~5-#¢3-5)-1¢ J-i:c§~r‘$l\ ¢`§L=J.U\ ¢li-+" di ‘=\iB;¢-TOU~JM~‘-b-: @93130\»'+3¢.§§4+54°3
lhb}“d\='-»¢J-u-z

91» ariz wm§ob <ofac) ,»,»=.h. w =1§>\¢>1¢\4. w ¢?wu><? w.,~l\ )w.b
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.v. \a Pu@.-,@.ws 3)1¢1 ¢,§°_uigww¢+> ¢L‘~.J di ¢L¢,Y. .v,.L=\HH§-.Lul__~

as,:uJSuM m.,¢._, .W\ ¢.~La_,a._¢M J+¢Lw\k, @y_ ¢L¢;L¢@ku¢,u.\ ,s;t$
L'»»S‘w~,~ w‘ L'»>w=’ w J»,we w KSJJ=J\ JL~¢L ad b\-éb f-*S»‘~J\ J\s ‘»~¢.~i} ~.w' b §§ y.»' /

 
     
  
  

 

>§3)1§£_§_,\,;& w`£\y»i ua.\..';¢al§&§,.aji 914 Léhaij.mh w`,.~.¢ll¢.¢!uaé_, gb.;.!»§).,.=¢

 

 

 

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.C,HS; wm WJS G»-,G§.u °§LW)UM 5,1.;1 3 13sz

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wis Ji>>G-“ 1=»+113 03-;3-3 w &zi 1115 ~.zl¥=» 51 111 di dis-1151 mg 1351 drew 1555 =~f»bj-Al
mw,;,\ »_.§1_1.,1_,15,,1:@,,,¢¢1§,“,¢_1% ¢Ma @m\ w 643 ¢,Lw.~ w gm ¢Jf,.;m
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di J\§¢S:\ 134 J§,U uls,bw'\§\.¢s¢,é\ w w¢¢§,,,\\ wbj¢,.¢,w ._¢.§..J _,i :1...:.53‘2\,,,\
k,»uw@y\é am 1115 1=»1<1'»>1»»1=41 011 51~111'1*151 1-111=1~1»1~1 1\.-1 @1='6113 ~15,»~»
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mm ‘.L»i ¢¢L¢ umw mbi M_,,.._ ng§.~~s\ mg J¢L.¢Js M\ wy. é+wl 1913
.m.,,§

    

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d$-J.I§'d»_).pwmu.¢i_)yas,ha.>f_,$.\ ML§J.LF?.LBJLAS Y - ~ ?L£->\aj}i§$' glus-3331
d_\.¢.?~_)_,..\§ d..¢i&‘_f'..\_!.\ i:,\_ESLASx\' \T'FLL“ U_bd_y_gt \.§_)Lj _)b§_.m§}_n_‘)~ U.& ¢\.'.JL.¢w_§a-u
‘1\.¢?\__.13_‘.\ a.i.@.l *4,;:.13_3`,,2,!).£'15.1.1.} asb.¢zj \’. .\ ¢L\Ji J.:\.»?u~.i_,).\\ JL.¢oLJ, 4..11.__§ ,;,g.,:c..\..\:.l.w.¢
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¢.zu,, .u§az,l a,s.sJ .¢.~\_¢ GQJ@L,¢L\ HL__<, .1..1,.1»¢.\.\13,_,1 ~c. u/z./A E,\_-Lz§

»;w>.p'oi ::L.M.z» J._LM_)}§E§ ..LA:¢-.a_$f=)$i Ee./F.L¢- ,_f-..L.U di 3.1§.1).»5§\ L`u_).'zu SJU§L°).¢ 3..1‘.'_>3.4 Ll§\..w_)
1431
office of Foreign wm J§,a‘zaa,,$ w\,.. usa § LsL, a,§s,m .;,L.,h.u di ,uw~su“

3._£;.1=,5.1!\ QL,L¢..\.\\ ¢L,w 3 3 ,.\__..L.v oyLaJ [_11_9 5 a..,$ _),~H\ 4._¢3£1.\ 1)\ 1913 .Assels Comroi (OFAC)

 

N..s§ .J,s;\.u¢§;\_wb+:¢saéi_.¢u man JH\_,M LgL> 43ng ‘Qs,¢_eags,.?mi

 

 

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gym 34st 1,3,,,3¢5 &@,wL-,AI,LM sum m ;.,.4.?,¢4
" \L'~L@~=.»eé».~w ¢_;\5\ him ;¢~lel+m§ 3~§15;‘$1£514@ i)‘-)M‘ €;§)a 435-mea
mem §§ ‘;Lyj=>wf¢mi,.¢_<xw§ da_,,QL'> a,M¢,W ¢_.z,m
.¢HS)),¢I
dm:r fum,¢i,wa »=w.sywwwlsj\»)¢_,im1¢.§}wng.)~w%
523-we O.Lél+=l‘ 0@13@53-“3 u¢="t-"¢~AYL.' "’~+<>L=“’J! L.\’.~L?~W J_e-w§°' 3-.¢5')4 \=.;=‘-15» 1435 ¢.;:~‘- z’\-*-°-?
§§ a_;;,€)§.n a_¢,;,m z_gszs wm L$,aj;_§¢z_zmwc \_,a¢,>l..¢yn \;¢}.@v_.w L¢s¢a,¢,,\_-»
‘1_&)#§;\ a&ua ¢,z!>:,;;
5_;5,.@.3 l.ajdaé)i .5_,§~1@ ugij L_gyj wb¢U Ml,,$_g.,g¢¢,l.;£;.\il jd,._=¥ `f . \V`\/\YY @_¢_,L:{_,
.‘r. \'s/n'/\'o/\ ¢5)‘@11§.!¢3)4@ §§ .L@Lsai M% w op ‘c. mwa @L@)¢L,,¢Jt u,\,:a.n
@J\_wmwéuaj_@w s&.¢,f,¢);,a_z,uq ,ML.@JL£ wmmu_z_%)\w.uws,ém
.,W\ a._sLMJ\ 351sz buck 115 rpm adst hub ‘@LLBJ g emma wm ¢W;`uj
L-=-.» §§ M-.».s 1-'~@.- JJ.~*-»» J-¢M: )z-ib win ‘0-4 J-"T ¢-'Le\~=»-* 04 traceable 5,)\-:-¢ ~.-¢SA:
95 ¢}LU JLe-"»?H 5-\-’-5 ~.’L"$wl¢»‘-"Lw§ gsin “-M> ¢$-W ~\~‘M allevst p-<l ~»‘-=.~ij
.\'. \~\/o/s\ @u/rwoi°\/¢§J a§..J,§.!la.z.-L:n..-J\¢Y,M
13 é.w='JL¢ &»FJ*-:wb-§.>b§ Wl of')¢+¢ `F' \V\ '/“\ `E)‘-"! 'L"IJ
Hb*!|_,..ab»i\¢.c§)ya&_§__%li&h._.f., L_¢;_;S_,J.io_,¢_%plllxél§.u,.z$»uu.§)»i.¢$$ .\
`€ .V/\'YAo .)..Lr. ¢.5_, ad mj.sL;=Ji _,4',.5.1)¥ §§ ¢,5_1,$.$.(»1 \H,l;. gail ,_§;=., R»B:J.l
¢5,.~»§,¢.1.-...15,.5§,¢;31&.¢5_@6¢_\,.$_..1_!H¢,m\a,¢_-a¢\__,,n.w. \o/'=\/\s-@u
ma W-s‘wwo»¢¥ ‘N,~L=@-flfc>~r,s\c.§-ww~‘-§C))SM
->Lg.’)s 440 ¢v§* J>L.~.e "-w~.> ¢v§ vsst -4-wr ~H~'-‘wg-ii$ 4-=--.> ~L¢-w eggs
New Line Exchange trust Company &S_,.&_g .`_a.w_,g m J._..r.m[, .'..L»_,¢ w

  
  
 

\+;rz=s S)L.>-b J‘J-=“‘" ub+‘+' pab-74 ‘£)3>. \-5-“3£ J>Lp ~q'~.»v ¢,~/1° p-\~\-‘"J -S-A~l
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JU~‘ JL:-‘>¥\ 3»1~>3».¢'$0¢ wm 11¢<-“&\-*¢`# hotle ¢5+£-»¢1~'¥ €v'-.»¢ J' ~=-'-`é'.vsi~é »Y
¢é, L.vi,.i ‘;J,S.U.i .v . \1/¢/\\ @L:/uroM/¢_§,LS_,)»Y& a.\_*.;u¢b_z!,n ga
.Y . \1/1/% 'U,ls \'. \‘\/w/¥o/
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z a_u~u 4_-,\ mut FincEN a_£g.d,}xz sum drew ga gm ,L*_'~;n z.\_>j ¢,L, ¢,¢..,a:, .LM\

L_§ ¢,.§ s¢,l,ll ¢L.,L.l\ LjLw-.».\j ¥. \'c/o/\\ @v/Y`\Yoz%/¢§, L,Fb-S.;,L &.w.'»l,l.». J,¢.-J§
dm__J,JJ:¢-»yuaBJ\QM\;M@W¢W1MM¢.~L,a_» a.a_>>\,,a)_i /

 

 

 

 

 

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;L$NYS aide L.LW,.M 13 gm 553
:?U.~»§ii ._',4_
=a_aws mem w a.,,,.;m ¢35311 metz
.JN~M@M;,MI@MUWU»M '
_ J.» §M§¢WJM¢SB dg him/m ¢E,LL, 4_,_.31\
.\1.;\:@..:=531
~QWJW$HW*WIWFHWWMMWWM "
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¢¢,Lz.,d ...§W § sww% L§._La.»_:lt @C,L \‘» s“\/‘x/% wm J>LQJLJWE nw *=
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:Q£UJ| §§ .c_
J,.=n >L.,,z L,;\.».>i M$ Lq}=.oi m 343 a,_@§uawl ,_;J: nw m ¢}¢¢.»3
iN,u .T~.Lz L.q M omb WL;NHA» L,¢.a\ 5a 1315 am ¢zL-..» L~,\§u} Lq
\;Ls,u‘x\ bap ala Y. \\/\/Y'r @L~u_ “,,.zs \J`@ ¢,1¢‘.1§,1\ g\a¢,..JlL-,., ¢.u_;, .:.q.,_.,
2_-%;,'3\ a Js 3,1 gun (oFAc) L_q;.¢$n J},Q‘Jz a_¢§\_,,, 451 ;,i ¢Ju,. ..z_.s,,»éz\ asL-,~zu alibi mut
va wis wl wharf amf 31 wash w 3~.¥ w wh ~w=» ¢L§ =L_»<J.w‘h
915 J\ ¢j.ps$ .J\_,.¢S’! Qa.£.;:_g al_,_l_='u ».,.,.m= Lk:.,,., M\=L§)`J ’kingpin acc' 0_,3Li \:.¢.=-_i E\...“.w_§.»
439 agk_g.u\ . ,,.<1\._ ong gsw ,».<.L> ,.>L».;Ji 1,,5,»1,, gin haw @,axm rug ,,L¢ .;,,.1
§§ y)a,~@ u,ss 3)1,11.§¢$¢,\§,.:“1\,¢¢1=1)~&;1¢1,1@ @¢§.»-J\, '»._.,w\ m §§ .L,L.mn
‘(ofac) TLA.p.?-S!$ J_,.,¢H\ 3.,.§\).\
:¢,& ,g\ was .s,,s.u\ :u%u ‘.L.; ;,,,A uaw ¢H.m\ @g.un§ l§+azm .L..,,
3-¢ wa )333.9 m§s cmi ~=JML-> 315 ?<9*=.=3* ~'»\J,Mb ~1»1=~*~9?" 15)-* '
:_,>l¢,=a eqng ‘a£.»u-. mm ,.L.J\ iv amc .§J\¢).\ 04 w é.u:<.~,u.u
c.,\.uw ~:.L§Laz:.w\.'¢j c.\\§._..:u.g L;,Ja_~.q a..'\.»‘d cath ala 313 @L§¢ji 313 y
¢m: v.\\ new Y. .\ ¢.\,ms 415 M-L_,L» ¢L_ mm ,a¢;u,m ajnge app
:*5.)> w xiii 0‘ G$> Lz=¢». L¢~.d’ J:J‘~==fe qw\-w" dim-1 lilJ-='=U --§)L‘dl' 643 Le~e»\-"
WL_, z£¢m\ .-J\J__,MJ@ ¢uu,;n 01 _, @\_,u\ 35 t-,,. why alj »,?5 \;.\J_L.“,J\
.\ \-¢,.¢.o\A p)yM\¢>»&Gw$ guang aS,..¢J
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»§J~=l\ w elk L~J--_~s ~\e‘-»a J>’@¢ ¥~¢.~\s .,,°~\l\ wis ;w'u. wah-w M¢ib
uaw wh L__;L~L,Luc »\..m;\ ¢LL, 5.0 L@z.§;, W ?\§ gwen .,_\,¢,.., ,,s.m /

 

 

 

  
 
 

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isaawa LwMti§'~.-'Lw> JW><‘.»~¢w-L ¢WE dyal ¢_l\:ii-.~A',=Lf‘-w mda
1 w ~ m @L'=,H‘;!$WL.»L¢J§,¢ wm .t_q=ts‘ y
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z m ve L.;.JLNC,L§M<_; Q>LJAJsWUi¢¢wlMs
-» ',»’-~=.;Jia~@ *M C»LJM’- 61 JL“'i (Ofa€) wi? uf C)s> 6 3 web
- F~lgs}iwp~i§! W…bw+).yy-U Wt)* J‘ tsw\.s
asp ;;,¢Mla¢ f.J m 51 R_S.L..:»§ (Qfa¢} 631 Ws ¢J.¢ §
.@L&J! L}Eg,w Q>L_rga.?
@~‘> 3536 who 54 J$'il 01 t)s~.-$q'w ;°»¢~53 @J> d>*e i/»q,lf- 6»\#=3-' ML. -
35¢& wm mw opi-w ¢3~:»5 trw 61~=$3‘6'~1&§ v‘-\J~.rj¥ 1'-'.»§.» w MMU
~»’-L'~JT 645 crim t:seL“-’- ¢&-rs trLe3 16 ‘@J=- d?>h gwi». J-`>Vb 13;:»»¢33 z;)~b»
¢df§ @~\> 356 cri trw UMM »\Sy=»¢ 693 3563 693 ;-\é wh »S~'\M
61#.11! ¢L‘~.J\ 60 L<»-'-w# 6 L<»w.s»'.e L.=i¢,»éi 6 qu'~¢-\ Jb.d w wis `JW 613
di =‘JLM w Lr'w‘~ r»=e »‘~»blwl Lv~‘ SJ.M? di <JB»»?* there 93 w wis 66511
as,r~ 36 6a arm vw w 66 615 356 01 vw us 661 6 w
wang L_.~Lu$ 516 di ¢mz L_,xt-J_m 361 63 L¢.L.,.» J,¢ must ¢.R\§ E,J.,
»L.@é)é,t- marw\,g“r ,»-¢swfw
69 LJL+~‘J* tip-rda HL»+¢J* BJL'.=L. trw 1315 bell ~"-S-r=a 616 1533 di Wla -
C*F#'* »‘~5 ¢/~5‘5 *"-¢'=Wl ééi==Y-“ w ariz q'v~u: @-1> 653-313 ca3 y.~i 353-4 JL¢
Lv.-l¢ ‘*~‘-9)#'1‘ ‘H)#-" "L“»ls \<»'Le*-“>)e>~ di
L,.LU¢J;"L-,i uaw @_Ml m z_,,\.¢ Wi L,(Jj gpa,s 941 own W¢,F;,¢,_é,,
.n )ajw L. twt,st,, 433 §§ ‘_,L».lepm)n‘g\ QL._.>_;!,¢JM\,.>S L,..'tui "L,._q.t.li,
:t._ Hsm,d, mg tdqu rts,> UELA¢LM wm a.,,.tnd\¢my Mi U\¢.,u z' (ofac)
61»-> 6 legl 013 "~#-¢> -1-»=-3.>5»'3 ,=..~5130-<~3'* ¢w.~l~‘ th-“U WL: QLJ"-" w Q>\gs-=d
Ua.tu ¢_,1030 .3_:.4¢_- [s_,§ ¢.J.¢: .j.LU Lm..di_g \_:l..w.>- di »_.1.1..:.‘ .71.1.¢.> ~L>ngdd\> L¢~.q,l.r. ¢j»».Ll\
)¢,l=» fdd.'»]j. @l."¢!idl_gu.¢ 3._».\|.»}¢.;.£.:§.\.¢§ AS').-» aguM“JlLWJS¢.-r\_¢w~ J>B»¢}A
New Line Exchange trust &Sjmj t_a_wj._. dbawa JMJH,IL@J_¢U c.»l.,»L“.> &S_,.~» C,..
war 31 we rs haw wl mach .@wl 636 crew adi rmc@mpanyS-A~I
Q\,L..» L_,~; ¢LL-, gm 31 ,A,J\ 013 .1,{_¢.-_ m¢¢il hyde hub 561 as,,zj ozL_.¢ 256 t-A,LM
L.§‘ awLLJJI-zr cyr 3».»»3»‘ >"s»f will m ~=»'*5 L¢¢ZSJ-»‘».e 691 ¢w‘§s a)~*-* J>*¢ \~¢L= 641\
'~"-'L°$J-'~Lle 3-1:¢<3* ~L~ga}§ ws-?s u'-‘= 451 ~\-5 L¢W‘ ‘5-.#5#=15' "*-1¢~4 ¢\Lf- tri-4i 633-43 »L¢ip§i

t(ofac) ¢5.LJ ELHM.H wing 5)§¥33.£1 /

    
  
 

 

 

 

 

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J_,J>JL;,.| R¢.\zs.U luij La...,_,§._t.=i._¢.).zal¥ SJLM| )'QJ f

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";.¢ rsr wm 66 arrow rra-tm lmra w 66 trw 661 raw
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@®EB§ EEE€FRQZW 51 »§‘,A¢

Colén, 12 de enero 2010

"Por este medio, Goldi Electronic, S.A. certifica que los Ail'cs
Acondicionados, marca SAMSUNG comercializados en nuestra empresa
Son NON~CFC.

Signit`ma que los Aires Acondicionados de Goldi Elecfronic no necesitan
para su produccién 0 wncionamiento, sustancia que causen dafi<) 0
disminuyan la capa de ozono, de acuerclo con el protocoio de Montreal, con
respecto a 1a sustancia que disminuye 1a capa de ozono.

MODELO: _TODO LOS MODELOS
REFRJGERANTE: ' R22
PRODUCTO: 'AIRE ACONDICIONADO

MARCA COMERCIAL: GOLDI ELECTRONIC

Agradecemos de antemano la colaboracién prestada ala presente.

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leGl!Ll-16:52:39 CAPBBNV~lBSS~OlZS§Z 1

-~ ~~~~~~~~~~~~~~~~~~ Instance Type and Transmission ~ ~~~~~~~~~~ von

votification {Transmission) of Original sent to SWIFT (ACK)

Network Delivery Stadua z Network Aok

Priorihy/Delivary : Normal

Hessage Input Referenca x 165? l18llSCAPBEAPAAXXXG?§SGl$395
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swift Inpuc z FIR 103 Single Customer Credt Trans£er

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Ssnder x CAPBPAPAXXX
CAPITAL BRHK INC .
PANRHA PA
Receiver : PNBPUSBNH¥C
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(NEW YORK IHTERNATIONAL BRANGH}
HBW YORK,HY US
MUR x LH
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20: Sender‘s Reference
TREDGZ!lGl$¢&l
238: Bank operation Code
CRBD
zzn. val ncalcurr!rnterbnk setcld Amt
Date 1 J§nuary 201§

  
 

 

 

 

Currency b j€vS DDLLARX _…

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SOK: Ordering Customer-Name a Addresa

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GOLDI ELECTRONICS¢:
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Category s Network Report
Creation Time ¢ 18/01/11 16:52:15
Application : SWIET Inherface
Operator : SYSTEM

Texb
(1:lecAPBPApAAxxxo155013395){4:(177;1101131651}{45110}(100=LM))

*End of Hessage

996

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1?/0§[11~18$31:23 CAPBEHV»1322~812519

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--------------------- Instavca Type and Transmission »»~~~---------
Notificaticn (Trnnsmission) of Original sent to SHIFT (ACK§

Network Delivery Stavus : Hebwork hck
Friority/Delivery c Normal
Message Input Reference 2 1835 l101lTCAPBPAPAAXKXG?$éGlBE51
------ ---------=»~~~»~~~~~~ Hessage Header “~~~------~-»~*F“»“»*~~‘-
Swi£t Input 2 FIH 103 Singla Cusbomer Credt Transfe:

Sander : CAPBPAPAXXX
CAPITBL BANK INCn
PANAHA PA
Receiver z ENBPUSSNN¥C
WBLLS EARGO BAHH, H@A»{FORHERLY KNGHN &S WACHOVIA)
{HBW YORK INTBRNATIONAL BRANCK)
NEP? YORK,H¥ US
HUR s LM
----------- ~~~~~»~~»~-»---- Messaga Tex& ~~~~-~@=»»»~~~~~~»~~»~““~~~
203 Sender‘a Reference
TRB00211016341
2352 Bank Operahion Code
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SOK'

*ZONA LIBRE AVE lERh/CALLE SERA

FRAHCE P{BLD, COLON REP. DE

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Application : SWIFT Inter£ace
operator 1 SYSTBH
Text
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*End of Mcssagc

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Exhibit 16

1455 Permsy]vmii& Ave., NW

. . . Suit:e 400
Ferreri & Asseeiates, RCo wl ec mm
Tt“.l. 2€`)2“230-637{)

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§5€)(§ Pennsy§vania Ave., NW

Treastny Aimex

‘»R"E;Shingtee, D.C. 20220

Re: '§DN Reeo`:_g's`i£ieratim '_§’etiiima Sum`)}enlentai ;§_,§z_t€er-Sectien 865 of the §?oreig§
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Aymwi -Sc:?l`€d Jz)zzr)zcm-FNK? 7 782

 

 

 

 

 

Dear' Mr. Samare:

On ianizai*y 26, ZGE li the Uniteci St&tes Depar§,m.ent of the Ti‘easttzy`s Oi`fi,ee cf Foyeign
ASSetS Centr<)§ (“OFAC”) designated Aynian Saied Joumaa (:“Peti'§iener”) 35 21 Speciel_ly
De$ignatecl Narcot'ics Tra§`f§eker (“SDNTK”} parsizzmt to the Foreign Nai'cotics Kirzgpi.n
Designa£iolz .Aet (“I<ingpin Ac§:”), 21 U.S.C. § 190§ et .s'eq., ibt a§ieged}y phyng a Signil§eant
role in international mercedes ii'ztl"f"ie.l<ing.l On May 18, 20¥6, 'Petit:ioner filed a 'l’c)rma§ reque$l for
reconsideration oi’tha.i éesignation. Petitioizer’s reconsideration case has been assigned Case JD
FNK-7782 and has remained pending before OFAC for fine past fifteen ('§5) months.

011 November i(), 2(}]6, f`e§.lowizig Petitioner`s request for ihe administrative record
underlying his designation, GFAC provided a copy of` ihe redacted adzzi§nistrzztive record upon
Which Petit§.c)ner’$ designation was based, 213 Wel§ as a non-;:)Iévileg,ed ami unclassified summary
of efherwise privi§eged inl"<)mzation contained within ihe administrative recerd, Undersigned
counsel has carefully reviewed the I’aictual allegaiions deta§fed in ihi§; acimi'rxistra£ive recoyci and
tile nen»;;)rivileged and unclassilied summary and lies conducted an exhaustive review ei`
Petitic)n.er’s current and histo:'ic activities §0 de§ezfmizae the factual basis for OFAC’S d,eei$iee to

 

‘ PRt'-;SS Rl'-it,!€i~x$i~i, Tz"ea$ur"y' "i"urgets Maj<”))‘ Lebanese-Based Dl'ug Ti'aiiickii\g and M'oney E_atmdering_ Netwerk. U.S
Dep`t of the Trea>z't¥l'y" Jam;ai'y 2(). 2911, available at Eztt'pisl.»";"www.zz'easury.gevfpress~cemer/pres$~
rel.eziseé;.=“?zigesf`tgi 035121&:10)§.

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designate Pctitionct as a SDNTK., i;`o,ilewing this reviewgit is undersigned eonesei s view that
G`FAC'§aeias a factna and i,egal pasis izponwhich o maintain ?etitionei‘*s designeiioe, as the
aii.ega£ions leveled nix Petitioner are his§ericai. in named and inch connection to Petition.esis
current aciivi£ics,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

?lze K_i’tigpin Act demarnls-in order §`or the Seci“etary o§` the Tz'easo§'y §o maintain a
designation ondezr that anilioi'ily-~tha€ Pe'iilionei"s narcotics trafficking activities be cun“eni and
ongoing Fuz*thenizote_, GFAC’§; own tegalations assett dial a change in circumstances means the
rescission el`a designation made under the §<ingpin Act and the minimizing o,l`seeh person2 45
stich, tindei‘signed counsel respeetl`niiy ifeqizesis that 0'§?.4€ take immediate steps to rescind
Pet.iti.onet’s designation ets in the alic,anativet snppiy con,tenzpoz‘ary factual aliega§ions that serve
to support a lega§ basis to maintain Peti§ioner’s current designation in the ansi-ince ot" either oi`
these steps, Peti§ione:“ wili be forced te seek judicial ;“cdi.“ess as O§`AC nn§;cat‘s to he niain§aining
Petiiione:"s designa§ion in excess o§` statutory antliori€y and in conti'a'vention oi` its own
regu§ations, while also nn?casonably dciz:ying a decision on ?etitiorzer’s reconsidcranoa i‘ce_tiest.

l. Factuai Bacf~;g round

As noted above, OFAC has provided a copy oi" the redacted administrative record upon
which Pciitioner's designation was based, as wali as a non-privileged and unclassified summary
ot` otherwise privileged information contained within the adminisn'at§ve rccoi'd. Aceoz"ding to
O`PA.C, the factual az.l§egations contained Within those records “pi*ovidc reason to believe that
[Petitioner] plays a significant roie in internationai narcotics trafficking and thus meets the
criteria for designa£ion. under section 805{'§))(4) oi`tlie Kingpin Act...”'z

Utzl"ortnnately, however, the factual allegations contained in the administrative record
provided to undersigned counsel are alan conip§ete§y redacted, exci'u.ding a few headers. To
the extent dial undersigned counsel can infer the l`ac£uai basis of designation l:`i'ozn the nn-
_redacted headers contained in this record, these headers suggest that O`FA.C believes Petitionei‘
exerts “eonn'ol over narcotics t;'afl:ic§§ing” and “narcotics n‘aflicl<ers" and engages in `“‘buik cash
smuggling and control in the iaundering o'l` drug procc.eds.”ii Nonotheless, the administrative
record provided to undersigned counse§ rcdacts all factual ailegations used to substantiate the
claims oi` these headers; and, as Sz.teh_5 the precise factual basis under which OFAC designated
Petitioncr (arzd maintains Pctitiolzer’s designation to this day} remains unavailable to both
Petitioner and his conesel.

 

3 31 C.F,R. § sni.s()?.
3 li\¢identiai'>! Z\Aemoranduln_’i`;'easusy-Led Kingpirz Ac£ T`ier l Designat§on: Ayman Szxied lehman 'Netwo¥i<, U.S.
Dep`t of'i`l*easury Oi`lice oi"l*`oreign Asset§ Conti'oi. jan 21` 201 l. al i~Z,
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OFAC’s provision of a non-privileged and unclassified summary of the otherwise
privileged information contained in the administrative record offers additional information
relating to the basis for Petitioner’s designation--albeit absent any clear and substantive factual
particulars According to OFAC, "[k]nowri narcotics traffickers and money launderch worked
with lPetitioner] to coordinate drug money laundering in Florida.”5 l\/lorcover, OFAC’s
summary states that Petitioncr “is the leader of the JOUl\/lAA drug trafficking and money
laundering organizatiori,” which “has moved hundreds of millions of dollars in narcotics
proceeds from the United States to Lebanon” and has exported vehicles “from the Unitcd Statcs
to West Afrlca...to launder drug proceeds.”6

l\/lost of these Speclfic allegations are duplicative of those contained in OFAC’S press
releases announcing the designation of members of the alleged lOUl\/lAA lvloncy Laundering
and Drug frafficking Grganization (“lOUl\/lAA l\/lLO/DTO”), and thus are conclusory in nature
and fail to adequately apprise Pctitioner of the precise factual bases underlying his Kirigpin Act
designation ln undersigned counsel’s vicw, OFAC has yet to fulfill its due process obligations
to provide adequate notice as to the basis for the designation of Petitioner and OFAC’S
maintenance of that designation since lanuary 26, 2011.

Lackirig a clear understanding as to the factual basis for his Kingpin Act designation,
Pctitioner has been forced to rely on allegations made by other U.S. federal agencics, including
the United States Department of Justicc and the Drug Enforcement Administration. As OFAC is
aware, a criminal indictment was returned in the Eastern District of Virginia on Novcmber 3,
2011 charging Pctitioner with (1) conspiracy to distribute five (5) kilograms or more of cocaine
with the knowledge and intent that such cocaine would be unlawfully imported in the Unitcd
States; and (2) conspiracy to commit money laundering Various factual allegations contained in
that indictment are relevant to this submission Most notably, these factual allegations arc based,
in large part, on the Affidavit in Support of an Arrest Warrant and Criminal Complaint filed on
Junc 17, 2011 in thc Unitcd States District Court for the Eastcrn District of Virgiriia. This
Affidavit is primarily, but not exclusively, reliant on three confidential sources (“CS-l, CS-2,
and CS-S”)_each of whom have either pled guilty to federal narcotics trafficking offenses or arc

 

5 Non-Privileged and Unclassified Summary of Otherwise Privileged Information~_Ayman Saied Joumaa thwork_.
U.S. Dep’t of Treasury Off`ice of Forcign Asscts Control. Undcrsigned counsel notes that this same precise
allegation Was made in reference to Petitioner’s brother, Mohamniad Saicd Joumaa, through information disclosed
provided by OFAC during his reconsideration case. Such allegation did not bar OFAC from determining that
Mohammad Saicd lournaa no longer met the criteria for designation under the Kingpin Act and rescinding his
designation To the extent that OFAC regards this allegation as truc, its historical nature should not be a bar to
taking Steps to rescind Petitiorier’s designation, particularly insofar as GFAC lacks more contemporary evidence
linking Petitioner to narcotics trafficking activities lndced, it is undersigned counsel’s understanding that much of
the evidence used to support Petitioncr’s designation was accumulated before or during 2009, when OFAC had
made an apparent initial decision to target Petitioner and his brothers for sanctions

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cooperating with U.S. law enforcement with the anticipation of obtaining a reduction in their
sentence from a pending guilty plea in a U.S. district court.7

l\/lost notably, however, these factual allegations indicate activities that occurred no later
than 2008. None of the allegations made against Petitioner evidence involvement in narcotics
trafficking activities beyond 2008. This is even more troubling given that one of the confidential
sources (CS-2) maintained a personal relationship with Petitioner-at the behest of U.S.
authorities-up until October 20l0. The lack of any contemporary evidence linking Petitioner to
narcotics trafficking activities»~even at the time of OFAC’s lanuary 26, 2011 designation~
renders OFAC’s decision to continue Petitioner’s designation as factually and legally suspect

H. Legal Analysis

A. Legal Background

On Deceinber 3, 1999, the President Signed into law the Foreign Narcotics Kingpin
Designation Act. See 21 U.S.C. §§ 1901-1908 (1999). The Kingpin Act was designed to
“provide authority for the identification of, and application of sanctions on a worldwide basis to,
significant foreign narcotics traffickers, their organizations, and the foreign persons who provide
support to those significant foreign narcotics traffickers and their organizations, whose activities
threaten the national security, foreign policy, and economy of the United States.” 21 U.S.C. §
1902.

To accomplish this, the Kingpin Act mandates the President submit an annual report to
Congress “identifying publicly the foreign persons that the President determines are appropriate
for sanctions...[and] detailing publicly the President’s intent to impose sanctions upon those
significant foreign narcotics traffickers...”8 Pursuant to the Kingpin Act, the President is
authorized to impose blocking sanctions on “any significant foreign narcotics traffickers publicly
identified” in the President’s annual report.9 10

 

7 F or reasons discussed in an earlier submission, it is undersigned counsel’s view that these confidential sources had
a clear motive to provide information implicating Petitioner--even if that information was knowingly false or
erroneous_in order to secure the Government’s support for a sentencing reduction

8 The President is authorized to supplement his mandatory report with additional designations “if at any time after
the report required...the President finds that a foreign person is a significant foreign narcotics trafficker and such
foreign person has not been publicly identified in [the] report...” 21 U.S.C. § 1903(11)(1)(A); 21 U.S.C. §
1903(b)(1)-(2).

9 21 U.S.C. § l904(b)(1) (“...there are blocked as of such date, and any date thereafter, all such property and
interests in property within the United States, or within the possession or control of any United States person. . .”).

10 Blocking sanctions are subject to exceptions “provided in regulations, orders, instructions, licenses, or directives
issued pursuant to this chapter…” 21 U.S.C. § 1904(b). Such exceptions fall under the discretion of the Secretary
of the Treasury, who “is authorized to take such actions as may be necessary to carry out this chapter, including
promulgating rules and regulations permitted under this chapter.” 21 U.S.C. § 1904(e)(1)(B).

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l\/loreover, the Kingpin Act provides additional authorities to the Secretary of the
Treasury, acting in consultation with the heads of several other federal agencies, to designate
“any foreign person. . .materially assisting in, or providing financial or technological support for
or to, or providing goods or services in support of, the international narcotics trafficking
activities of a significant foreign narcotics trafficker”; “any foreign person...owned, controlled,
or directed by, or acting for or on behalf of, a significant foreign narcotics trafficker;” and “any
foreign person…playing a significant role in international narcotics trafficking,”ll Foreign
persons who are designated pursuant to these authorities are likewise subject to blocking
sanctions under the Kingpin Act.12

OFAC acts under a delegation of authority from the Secretary of the Treasury', who is
authorized to prescribe such regulations as may be necessary “to carry out the purposes” of the
Kingpin Act, including “regulations prescribing recordkeeping, reporting, and production of
documents, definitions, licenses, instructions, or directions, as may be necessary…” Pursuant to
its own regulations, OFAC may place a designated person on its Specially Designated Nationals
and Blocked Persons List (“SDN List”) and allow them to “seek administrative reconsideration
of his, her, or its designation...or assert that the circumstances resulting in the designation no
longer apply, and thus seek to have the designation rescinded... ln doing so, the foreign
person “may submit arguments or evidence that the person believes establishes that an
insufficient basis exists for the designation” and “may [also] propose remedial steps on the

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person’s part. . .which the person believes would negate the basis for designation.”14 The
regulations further prescribe that OFAC will review the information submitted and “may request
clarifying, corroborating or other additional information.”15 Following a “review of the request
for reconsideration, [OFAC] will provide a written decision to the blocked person. . .”16

 

1121 U.S.C. § 1902(2)-(4). A significant foreign narcotics trafficker is defined as “any foreign person that plays a
significant role in international narcotics trafficking, that the President has determined to be appropriate for
sanctions pursuant to this chapter…” 21 U.S.C. § 1907(7). Narcotics trafficking is itself defined broadly to include
"any illicit activity to cultivate, produce, manufacture, distribute, sell, finance, or transport narcotic drugs, controlled
substances, or listed chernicals, or otherwise endeavor or attempt to do so, or to assist, abet, conspire, or collude with
others to do so.” 21 U.S.C. § 1907(3).

12 21 U.s.c. § 1904(b).

13 31 CiF.R. § 501.807; see also 31 C`F.R. § 598.101 (“This part [Part 598] is separate from, and independent of, the
other parts of this chapter...with the exception of part 501 of this chapter, the provisions of which apply to this
part.”).

14 31 C.F.R. § 501.807(3).

15 31 c.F.R. § 501.307(b).

‘° 31 C.F.R. § 501.807(a).

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B. Le gal A nalyszs

According to the administrative record disclosed in this case, OFAC designated Petitioner
for allegedly “playing a significant role in international narcotics trafficking” pursuant to 21
U.S.C. § 1904(1))(4).17 ln undersigned counsel’s view, this statutory basis for designation
requires OFAC to have current evidence linking Petitioner to present or on-going activities
related to narcotics trafficking in order to maintain Petitioner’s designation18 Based on
undersigned counsel’s review of the evidentiary record, the indictment discussed above and all
documents related thereto, as well as Petitioner"s current and historic activities, it appears that
OFAC is impermissibly maintaining Petitionerls designation on the basis of historical evidence
that is now at least a decade old, if not more

Furthermore, OFAC’s maintenance of Petitioner’s designation contradicts its own
regulatory scheme under Which SDNS may assert that the specific circumstances that led to their
designation are no longer applicable As discussed in further detail below, the circumstances
giving rise to Petitioner’s designation have not been present since at least 2011, if not 2008; and,
as such, OFAC should take immediate steps to rescind Petitioner’s designation or, in the
alternative, supply contemporary factual allegations that could serve as a basis to maintain
Petitioner’s current designation

i. Eviderrtiary Record

As discussed above, the evidentiary record meant to supply the legal and factual basis for
designating Petitioner is heavily redacted and contains few, if any, substantive claims regarding

 

17 Evidentiary Memorandum_Treasury-Led Kingpin Act 1`ier 1 Designation: Ayman Saied Joumaa Network, U.S.
Dep’t of Treasury Office of Foreign Assets Control, Jan. 21, 2011, at 1-2.

18 'l`his appears to be the official United States Government’s view as well, as evidenced by the United States
Embassy in El Salvador’s press release following OFAC’s rescission of Jose Adan Salazar Umana’s Kingpin Act
designation: "

OFAC’s key criteria to retain an individual on the SDN List is that the information of involvement
in narcotics trafficking activity be ongoing In the course of its re-investigation, OFAC found that
information currently available is insufficient to support the basis that he continues to play a
significant role in international narcotics trafficking...

This removal from the OFAC SDN List should not be viewed in the context of other possible
criminal activity in which this individual may be, or may have been, involved lt simply means
that current information held by the Departnient of Treasury is insufficient to demonstrate a reason
to believe that he continues to play a significant role at the highest levels of international narcotics
trafficking

See PRESS RELEASE, OFAC Removes Jose Adan Salazar Umana from List of Drug Traffickers, U.S. Embassy in El
Salvador, April 7, 2017, available at https://sv.usembassy.gov/removal-jose-adan-salazar-umana-ofacs-kingpin-list/.

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Petitioner’s activities outside of the section headers. These section headers suggest that ()FAC
believes Petitioner exerts “control over narcotics traffickers” and engages in “bulk cash
”19 ln OFAC’s view, the factual
allegations contained in the evidentiary record “provide reason to believe that lPetitioner] plays a
significant role in international narcotics trafficking and thus meets the criteria for designation
under section 805(b)(4} of the Kingpin Act...”20

smuggling and control in the laundering of drug proceeds

However, the information contained in OFAC’s administrative record_if it is to be
believed_is historical in nature. in other Words, it merely repeats the factual allegations that
serve as the basis for designating Petitioner, but does not include contemporary factual
allegations in support of Petitioner’s continued Kingpin Act designation lhis is a critical
distinction insofar as the administrative record lacks a factual basis to support the maintenance of
Petitioner’s designation Even assuming arguendo that the factual allegations contained in the
evidentiary record were true and accurate representations of Petitioner"s historical activities,
those allegations would be insufficient to support the maintenance of Petitioner’s designation in
2017, absent any indicia that Petitioner remains or has recently been involved in narcotics
trafficking-related activities For reasons discussed herein, as well as in prior submissions, it is
undersigned counsel’s view that there is an inadequate factual basis to support a belief that
Petitioner has been involved in narcotics trafficking activities since 2011 at the latest.

ii. Indictment and Related l\/laterials

As discussed above, the most substantive source of information available to Petitioner to
understand the factual allegations leveled against him in support of OFAC’s designation is the
indictment that was returned in the Eastern District of Virginia (Case No. 1-11-cr-00560) in
2011, and related documents filed in that case. Both the Indictment and the Affidavit in Support
of an Arrest Warrant and Criminal Complaint contain specific factual allegations regarding
Petitioner’s activities that were likely used to support OFAC’s decision to designate Petitioner.

However, those allegations are historical in nature and relate back to alleged activities
having taken place prior to 2008. Furthermore, those factual allegations almost wholly consist of
statements made by three confidential sources, each of whom has either pled guilty to federal
narcotics trafficking offenses or is cooperating with U.S. law enforcement in anticipation of
obtaining a reduction in their sentences

Tlrese statements indicate that the sources’ relationship with Petitioner did not post-date
2010; and furthermore, none of the sources had information evidencing Petitioner’s involvement

 

19 Evidentiary l\/lemorandum_Treasury-Led Kingpin Act Tier 1 Designation: Ayrnan Saied Joumaa Network, U.S.
Dep’t ofTreasury Office of Foreign Assets Control, Jan. 21, 2011, at 7-9.
20

Irl. at 1-2.

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in narcotics trafficking-related activities post~2008. As such, the most contemporary evidence
related in the indictment and the Affidavit in Support of an Arrest Warrant and Crirninal
Complaint is close to a decade old and could not reasonably sustain OFAC’s continued
maintenance of Petitioner’s designation

iii. Review of Petitioner’s Current and Historic Activities

 

lo determine the specific circumstances that may have served or continue to serve as the
factual basis for Petitionei"s Kingpin Act designation, undersigned counsel has undertaken an
extensive review of Petitioner’s current and historic activities This review has evidenced the
fact that_while Petitioner was engaged in the exchange of currencies and provided support for
international payments during the period of 2002~20l l--Petitioner has not been involved in such
activities post-20ll. lndeed, Petitioner has not engaged in any commercial money-exchange
transactions since in or around 201 1 following the decision to shutter and liquidate the assets of
New Line Exchange Trust Co.

Starting in 2008, Petitioner held effective control over New Line Money Exchange Trust
Co., a Lebanese money exchange that provided currency exchange and international payment
services to foreign entities21 As indicated in Petitioner’s previous submissions, New Line was
the subject of extensive review by Lebanese authorities resulting from its business losses. For
instance, on June 17, 2009, Lebanon’s Banking Control Commission assigned two controllers to
conduct a study on the financial situation of New Line Exchange Trust Co.22 The BCC’s report
indicated that New Line’s activities were “restricted to money exchange,” and New Line
“appear[ed] to comply with Lebanon’s money laundering laws.7723 Considering that the BCC had
access to the books of New Line, including, but not limited to, New Line’s balance sheets, profit
and loss accounts, and asset and amortization statements, the BCC’s report evidences that New
Line conducted itself in compliance with relevant Lebanese anti-money laundering laws.
Moreover, following Petitioner’s designation on January 26, 2011, New Line’s board of directors
decided to dissolve and liquidate New Line and its assets, a process that has been styrnied by the
fact that certain of New Line’s assets held at Societe Generale de Banque du Liban S.A.L.
remain blocked and thus cannot be liquidated as intended Notwithstanding that fact, New Line
has been inactive since its board recommended dissolution on August 26, 2011.

 

21 Petitioner has provided C)FAC with extensive documents regarding New Line’s activities, including sample sales
contracts, purchase invoices, and payment orders, all of which are contained in his April 24, 2017 Supplemental
Response to OFAC’s July 27_, 2016 Questionnaire.

21 See Exhibit R to Petitioner’s April 24, 2017 Supplemental Response to OFAC’s July 27, 2016 Questionnairei

23 See Exhibit S to Petitioner’s April 24, 2017 Supplemental Response to OFAC’s luly 27, 2016 Questionnaire.

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Since that time, it is undersigned counsel’s view that Petitioner has not been involved in
any activities related to the exchange of currencies.24 lf OFAC has contemporary information
indicating that Petitioner has engaged in activities related to narcotics trafficking much less
activities related to the exchange of money, such information has not been shared with Petitioner
and has not been integrated into OFAC’s administrative record, its press releases announcing the
designation of parties alleged to belong to the JOUl\/lAA DTO/MLO, or the criminal charges and
all documents related thereto filed in the Eastern District of Virginia. lt is undersigned counsel’s
view that GFAC lacks any contemporary evidence indicating Petitioner"s involvement in such
activities for the very simple reason that Petitioner has not been engaged in any such activities
since the time of his OFAC designation, if not earlier For this reason, OFAC appears to lack a
permissible legal basis under which to maintain Petitioner’s designation

ill Conclusion

For the foregoing reasons, Petitioner respectfully requests that OFAC take immediate
steps to rescind Petitioner’s designation or, in the alternative, supply contemporary factual
allegations that could serve as a legal basis to maintain Petitioner’s current designation ln
undersigned counsel’s view, OFAC lacks a permissible basis upon which to maintain Petitioner’s
designation, as there is no contemporary factual basis to believe that Petitioner continues to play
a significant role in narcotics trafficking activities OFAC’s failure to take one of the preceding
steps may force Petitioner to take legal action demanding the immediate rescission of his
designation and his removal from OFAC’s SDN List.

Please forward all correspondence concerning this matter to undersigned counsel’s
Washington, D.C. office:

 

24 On April 24, 2017, Petitioner filed a Supplernental Response to OFAC’s July 27, 2017 Questionnaire. ln this
response, Petitioner detailed the fact that a Lebanese tribunal affirmed the decision ofa lower court finding a lack of
evidence to support the indictment and prosecution of Ayman Saied Joumaa for the crime of money laundering
under Lebanese law. Following an extensive review of the evidence presented in the case, as well as the findings of
the Special lnvestigation Commission at the Central Bank of Lebanon, the Lebanese tribunal found that bank
accounts held by Petitioner and his brother in Lebanon since 1998 did not evidence transfers to and from abroad, but
rather showed that the majority of deposits made into such individual accounts involved security bonds denominated
in Lebanese pounds l\/loreover, in regards to New Line Exchange Trust Co., the tribunal indicated that New Line
Exchange Trust Co. was engaged in the receipt of cash funds in U.S. dollars and Euro from traders located in
Venezuela and Ghana and the sale of such funds to l\/leccatefExchange Co. and Hassan Ayash Exchange Co. These
two exchange companies would transfer the equivalent value of funds to accounts held at Lebanese Canadian Bank
in order to transfer funds abroad (e.g., to Chirra) for the import of consumer goods ln the tribunal’s finding, the
amount of goods purchased abroad by New Line Exchange Trust Co. totaled $17 million U.S. dollars The tribunal
could find no evidence supporting OFAC`s allegations and lamented the failure ofthe U.S. Government to turn over
evidence to Lebanese authorities that might be in its possession See February 1, 2017 Lebanon Panel Ruling Re:
Money Laundering.

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Ei‘ich tff. Fcr'i‘ai'i, Esq.

Fcrrari tit Associatcsw P.C.
1455 Pcrinsy'ivania Avc.,_ NW
Suitc 400

Washington, D.C. 20004

?lzarik you for your considerationj and Petitioner looks forward to your response

Sincerely,

 

Eriiw r C , Fe;t‘ai'i

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Exhibii 17

1455 l’ennsylvania Ave., NW

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Ferran & Associates, l).C0 iran ne ana
fel, 202~280~6370

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Aizgust 295z 2017

S,ENT VIA EMAZL AND FEDERAL §§XPRESS: # Slllé 5197 5713

 

Mari< Sanzara

Assislant Bircctor

Crime,./’l*\iarcotics & Wcstern l-ieniisplierc Dirision
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Ol`liec of Forcign Assets ’Controi

United Statcs Deparlnrent of the freasury
Treasuiy Arrnex

500 Pennsylvania Av'e., N'W

Washington, D.C. 20220

Re: R.equest to Enter into an Agreement for R.emoval from O`FAC’s S'{}N §;ist
stratton Saied Jozi/)iaa_f'_l\/K- 7 782

Dear Si_r or lvladain:

On, lairuary 26, 20.11., tire United Statcs Dcpartinent of the Treasrriy`s Ot`lice of Forcign
Assets Control ("GFAC”") designated .Aynran Saied rloum.aa (“Petitionci"’) as a specially
designated narcotics trafficker (“SDNTK°’) pursuant to tire Forc§gzi Narcotics K£ngpin
Designation Act (“Kingpin Ac§“”), 21 U.S.C.. § 190§ et sea., for allegedly playing a significant
role in international narcotics trafficki;ng,i Grr May 18, 2016, Respondent, acting by and through
undersigned eounsci, filed a formal request for reconsideration of his designation That
reconsideration ease has been assigned Casc l.D FNK~7782.

fin a series of successive filings with O`F.AC-~ineluding a supplemental filing dated
Atzgust 24, 2017`-Petitioner has argued that even if the factual bases underlying OFAC’s
decision to designate Petitioner were true,‘ja there has been a fundamental change of
circumstances in the interim period that renders these factual bases outdated and unable to
support OFAC"s decision to maintain Petitioner’s designation For this rcason, Petitioner has

 

l Press Relezrse. Treastu*y 'l`zirgets §vlajor Lebanese~Based Drug Trzif_`iiciting and :\floney Laurrdering Nelworlc U:S.
l)ep’t of 'freasury, lan. 26~ 2013, availab§e at littp:!fwww.treasirry.gov'.$press'center,"'press~
releasesr'Pa gesr’t g 1 03 5 `aspx.

2 Petitioner does not make any representations herein suggesting OFA(:,`”s allegations regarding his activities are
true Petitioner merely argues that even if \ve assumed those allegations to he true their historicer nature would
render them incapable of supporting a lawful basis for designation under current conditions

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respectfully urged OPAC to take steps to rescind Petitioner’s designation and remove his name
from OFAC’s Specially Designated Nzttionals and Blocl_<ed Persons List (“SDN List”).

To mitigate any concerns OFAC may have regarding Petitioner, and to provide
confidence regarding Petitioncr’s current and future activities Petitioner is herein expressing his
intent to enter into a Terms of Rcmoval Agreement with OFAC that would govern the rescission
of Petitioner’s designation and removal of his name from OFAC’S SDN List.3 Such a Terms of
Removal Agrecment would condition OFAC’s rescission of Petitioner’s Kingpin Act designation
on a number of stipulations_not least of which is to refrain from any conduct linked to or
otherwise associated with narcotics trafficking or money laundering in support of such narcotics
trafficking As such, Petitioner herein respectfully requests to enter into discussions with OFAC
concerning a proposed Terms of Removal Agreement'.

l. Terms of .Removal Agrecments

 

A Tcrms of Removal Agreement governs the conduct of designated individuals and
entities upon their removal from OFAC’s SDN List. lt is undersigned counsel’s understanding
that GFAC does not adopt such Terms of Removal Agreements with de-listed parties as a matter
of routine practice4 However, undersigned counsel is aware that OFAC did enter into a Terms

 

3 Such a Terms of Removal Agreement is not a precondition for rescission of Petitioncr’s Kingpin Act designation
lndeed, as Petitioner has argued in successive filings, OFAC lacks a contemporary factual basis under which to
maintain Petitioncr’s designation; and, as n result, removal of Petitioner’s name from ()FAC’s SDN List is legally
mandated Petitioner’s current proposal to enter into a 'l`erms of Removal Agreement is intended only to help reach
a mutually satisfactory resolution to this reconsideration matter for all parties involved, including the U.S.
government

4 lf, on the other hand, OFAC does enter into Terms of Removal Agreements as a matter of routine practice,
unbeknownst to undersigned counsel, OFAC’S refusal to extend the same to Petitioner may represent agency action
that is “arbitrary, capricious, lor] on abuse of discretion” within the meaning of the Administrative Procedure Act, 5
U.S.C. § 500 et seq. For instance in the case of].N.S. v. Yeuh-Shaio Yang, the Supreme Court held that;

Though the agency’s discretion is unfettered at the outset, if it announces and follows-by rule or
by settled course of adjudication_a general policy by which its exercise of discretion will be
governed, an irrational departure from that policy (as opposed to an avowed alteration of it) could
Constitute action that must be overturned as “arbitrary, capricious, or an abuse of discretion”
within the meaning ofthe Administrative Procedure Act, 5 U.S.C. § 706(2)(A).

[.N.S, v. Yeuh-Shaz'o chg, 519 U.S. 26, 3l (1996).

Furthermore, the Court has noted that, in cases involving an alleged change in agency interpretation of a statute,
"[although] the mere fact that en agency interpretation contradicts a prior agency position is not fatal...[S]udden and
unexplained change...or change that does not take account of legitimate reliance on prior interpretation...may be
arbitrary, capricious, or an abuse of discretion.” sz`]ey v. Citiban/c (South Dakotq), N,A., 517 U.S. 735, 742 (1996).
Finally, “[while] an agency has a well-settled right to modify or even overrule established precedent, it is equally
settled that an agency must provide a reasonable explanation for any/failure to adhere to its own precedents.” Grace

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of Rernoval Agreement on at least one prior occasion That agreement Was entered into With
Deutsche 13 orfait_a Gerrnan firm designated under Executive Order 13382--through Which the
formerly designated party agreed to the following conditions for its removal from OFAC’s SDN
List: (1) to refrain from business relations or other connections With SDN-listed parties; (2) to
ensure that its shareholders do not and Wiil not maintain business relations or other connections
With certain designated parties and that none of its shareholders vviii be identified on OFAC’s
SDN List; and (3) to install and implement a rigorous U.S. sanctions compliance program and to
train its employees to act in conformity With any such U.S. sanctions compliance prograin.5 in
return for Deutsche Forfait agreeing to these conditions, OFAC rescinded its designation
pursuant to Executive Order 13382 and removed its name from OFAC’s SDN List. As such, this
Terms of Rernoval Agreement had the effect of satisfying the interests of ali parties concerned,
including the U.S. government’s interest in ensuring that parties are not engaged in activities
deemed anathema to U.,S., national security and foreign policy interests

Petitioner is prepared to enter into a similar Terms of Removal Agreement with OFAC in
order to provide a measure of confidence to the agency meriting the rescission of his designation
Hovvever, Petitioner expresses his intent to enter into such a Terms of Rernoval Agreement as a
gesture of good-faith to highlight to CFAC that Petitioner is prepared to conduct himself in a
manner conforming to U.S. interests (i.e., to refrain from relationships With or associations to
persons involved in narcotics trafficking or money laundering activities). Petitioner is Willing to
discuss With OFAC any proposed conditions deemed necessary to vvarrant immediate rescission
of his designation and removal of his name from OFAC’s SDN List.

Undersigned counsel believes that such a Terms of Removal Agreement Will serve to
illustrate how U.S. sanctions can achieve important U.S. foreign policy interests by changing the
behavior of targeted individuals and entities Pursuant to 31 C.F.R. § 501.807, U.S.-designated
individuals can seek reconsideration of their designation or assert that the circumstances
resulting in the designation no longer apply and thus request the rescission of their designation
The effective purpose of this regulatory provision is to permit designated parties an opportunity
to rebut the factual basis of their designation or take remedial actions to remove the basis for
such designation-_all of Which is intended to redound to the interests of the U.S. government
Underlying this provision is OFAC’s view that “the primary goal for sanctions is behavioral
change.”6 Targeted sanctions are designed to isolate perceived bad actors from the U.S. financial

 

Petroleum Corp. v. F.E.R.C, 812 F.Zd 589, 591 (IOth Cir. 1987) (citing Hatch v. FAE.R.C., 654 F.Zd 825, 834 (D.C.
Cir. 1981)).

5 DF Deutsche Forfait AG, DF Deutsche Forfait AG Removed from OFAC Sanctions List Without I-laving to Pay a
Fine (Oct. 17, 2014), iittp:/.""Www.dfag,dereanfwdeutsche~fortait~ag~removed~froin»ofac~sanctionswiist»ivithout~
having~to~pavwa~tine/.

6 See PRESS RELEASE, Treasury Lifts Sanctions on the Defunct Columbian Business Empire Led by the Rodriguez
Orejuela Family.' U.S. Dep’t of Treasury (June 19, 2014), http:/,""Www.n'easurv.gov/'press-center/press~

 

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system and convince them that only a credible change in behavior will lead to sanctions lifting
As O_FAC itself has stated, “[s]anctions are a means to an end; [their] ultimate goal..,is
behavioral change.”7 ln doing so, OFAC has further noted that it “seeks to reward those who
change behavior and motivate others to do the same.’98 While Petitioner maintains that OFAC
lacks a current legal basis under which to maintain his Kingpin Act designation7 his proposal to
enter into a Terrns of Removal Agreement will buttress prevailing U.S. sanctions policy and
herald policy success for OFAC by explicitly conditioning Petitioner’s de-listing on his
agreement to refrain from engagement in activities or relationships with persons related to
narcotics trafficking or money laundering As such, a Terms of Removai Agreement would lead
to a satisfactory outcome for OFAC, as it gains confidence not only that Petitioner is no longer
engaged in activities deemed anathema to U.S. interests but aiso that Petitioner will refrain from
any such conduct in the future as well.

H. Conciusion

For the foregoing reasons, Petitioner expresses his intent to enter into a Terms of
Removal Agreement under which OFAC would condition the rescission of Petitioner’s
designation on Petitioner conforming his conduct to certain agreed-upon terms. Petitioner
respectfully requests that OFAC review Petitioner’s proposal to enter into a Terms of Removal
Agreement and enter into discussions with Petitioner regarding it. lf OFAC refuses to enter into
discussions regarding such proposed agreement, Petitioner requests that OFAC provide a
reasoned explanation for its refusal to do so. As discussed above, it is undersigned counsel’s
view that Petitioner’s willingness to enter into a Terms of Removal Agreement signals his good-
faith in seeking a mutually satisfactory solution to this administrative reconsideration matter.

Please forward all correspondence relating to this and Petitioner’s request for
administrative reconsideration to undersigned counsel’s Washington D.C. office:

Erich C. Ferrari, Esq.

Ferrari & Associates, P.C.
1455 Pennsylvania Ave., NW
Suite 400

Washington, D.C. 20004

Thank you for your consideration, and we look forward to your response

 

7 Adam Szubin, Sancrions 101: Par[ II- Enforcement and lrs E]j‘ecl‘s, U.S. Dep’t of the Treasury (June 2, 2014),
http://www.treasury.gov/connect/blog/Pages/Sanctions-1()1-Pt-2-.aspx.

g Treasuiy Department Explains Value, Effect of Sanctions, llP Digital, U.S. Dep’t of State (June 12, 2014),
littps://geneva.usmission.gov/Z()14/()6/13/treasury~department-explains-value-effect-of-sanctions/.

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Si nccrely,

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Eric§i C.`. ferrari

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Exhibit 25

DEPARTMENT CF THE TREASZ}RY
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Case ii): FNK-WSZ

Ferrari & Assooiates, P.C. ` gift j 5 Zm~/~
1455 Pennsyivania Ave., NW `

Suite 400 '
Washington, DC 20§@4

Re: layman Saied ioumaa
Dear Mr, §errari:

Tins letter acknowledges receipt ofyour correspondence dated Septeinber 2?, 2017 to the Ofiice
of Poreigo Assets Control {OFAC), requesting a status update of your client’s reconsideration
request

Your request for reconsideration of your client’s designation as a Speoially Designated Narcotics
Trafficker (SBNT) pursuant to Section 805 of the Foreign Narcot§cs Kingpin Designatioth net
(Kingpin Aot), 21 U,S.C. § §904(b), is under review We must independently verify whether
your client no longer meets the criteria for designation and this determination includes careful
review of the documents you have flan far submitted on behalf of your client

As you are aware, OFAC has many persons who have requested reconsideration The quantity
ot` reconsideration cases and the complexity ofthese cases can make this a lengthy process
Ftutherrnore, please note that the reconsideration decision for atl such requests requires U.S.
federal government inter-agency consultation and legai review. This is a necessary part of our
reconsideration process, and it has delayed our response time

We understand that this matter is a priority for your ciient, and we hope to reach a final decision
in the near future

For the most expedient coninuinicatiotisy please direct ali questions and correspondence
regarding your requests to GFA€,Reconsideration@treaaurv.aov. You may also communicate
via telephone at (202) 622~2420, fox at (202) 622-5390, or mailing OPAC at the following
address

U.S. Depaninent ofthe Treasury

Offioe of Foreigo Assets Control

A'l"l"N: Oftice of Global Targeting

1500 Pennsylvania Avenue, N.W. (["reedrnan’s Bank Buiid_ing)
Washington, DC 20220

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Please refer to case lD FNK-7782 cited above in all future correspondence

Thank you for your cooperation

Slncerely,

MA»L,,.

Merl< Samara

As sistani; Dlreoror

Crime/Narcorics and Wesrern Hernisphere Division
OHice of Forelgn Assets Conrrol

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The secret backsiory of how Obama lea He‘abol|ah off!he hock

 
  

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The secret backstory

of how Obama let
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Case 1:17-cv-02780-T.]K Do_oument 22-10 __ Filed 02/

 

expansion

n its determination to secure arnuclear deal With Iran, the

Obama administration derailed an ambitious law enforcement

campaign targeting drug trafficldng"oy the haitian-backed

terrorist group Hezbollah, even as it was funneling cocaine
into the United States, according to a POLI'I`ICO investigation

'l`he campaing dubbed Project Cassanclra, was launched in 2008
after the Drug Enforcement Adminisr_ration amassed evidence that
Hezbollah had transformeditselffrom a Middle East-focused
military and political organization into an international crime
syndicate that some investigators believed was collecting si billion a
year from drug and weapons trafficking money laundering and
other criminal activities.

Over the next eight yeam, agents working out of a top“secxet DEA
facility in Chantilly. Virginia‘. used wiretaps, undercover operations
and informants to map Hezb ollah's'illicit networks, with the helpof
30 U.S. andforeign security_agencies.

’l'heyfollowed cocaine shipments some from Lat'in America to West
_Afrlca and on to Europeand the Midid_le East.~`and others through
Venezuela and Mexico to the United S`tates. 'l'h'ey tracked the river of
dirty-cash as it was laundered by, among other tactics, buying
Americ'an used cars and shipping-them to Africa. And with»'the' help
of some key cooperating witne's,ses, the agents traced the conspiracy
they believed, to the innermost circle of Hezbollah audits-state
sponsors in kan.

They followed'i cocaine shipments,-
tracked a river of dirty cash, and
traced what they believed to he the
inneran circle cf l-lezbo'llah and its
state sponsors in lxan.

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_ The~‘secret backstory of how Obama let Hezbo|lah offlhe' hook

-_. (http://mvw.politlco.com) Pro;Be\¢':lttCaa§.sl;¥i§`aect` gl's¢*.s¥a?d£§r{?la‘i}letgrl\llgher into the hierarchy Of me y 0
conspiracy Obarna administration of&cials threw an increasingly

insurmountable series of roadblocks in its way,. according to

interviews with dozens of participantsth in many cases spoke for

the first time about events sh.rouded in secrecy, and a review of

government documents and court records. When Project Cassandra

leaders sought approval for some significant investigations

prosecutions,arrests and financial sanctions onicialsat the Justice

and Treasury departments delayed, hindered or rejected their

requests

 
 
 

The ]u.stlce Deparcment declined requests by Project Cassandra and
other authorities to file criminal charges against majo'r:players such
as Hezbollah's high~profile envoy to lran, a Lebanese bank that
allegedly laundered billions in alleged drug profits, ;anda central
player ina U.S.'-based cell of the Iranian paramilitary Quds force.
And the State Department rejected requests to'lure high-value
targets to countries where they could be arreste_d.

oecember 15,42'011
Hezbollah is linked to a $483,142,568 laundering
scheme

The money, allegedly laundered-through the Lebanese Canedien Bank and
t\`vo»exchange-houses._ involved approximately 30 u,S. cal buyers

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The secret backstory of how Obama'!el Hezl)ollah off the hook

(http://www.poliilco.coml Pr'ojectCassandra Paril l Part ll l Part|lk

 

Reati me document
(https://www.docurnentcloucl.org/docu.rnents/¢;$25664-Hezbollah-
Money-Launderingthtml)

"'I'his was a policy decision. it Was a systematic decision," said David
Asher, who helped establish and oversee Project Cassandra as a
Defense Departrnent illicit finance analyst “They serially ripped
apart this entire effort that was very well supported and resourced,
and it was done from the top down."

AOVERT|_SEMENT

The untold story of Project Cassandra illustrates the immense

difficulty in mapping and countering illicit networks in an age where
global terrorism, drug trafficking and organized crime have merged,
but also the extent to which competing agendas among government

agencies'- and'shifting priorities at the highest levels ¢-- can set
back years of progress

lAncl while the pursuit may` be shadowed in secrecy, from Latin
Amexican luxury hotels to car parks in Africa to the banks and
battl'eiields ofthe Middle East, the impact is not: In this case, multi¢
ton loads of cocaine entering the United States, and hundreds of
millions of dollars going to a U.St-d,esignated terrorist organization
with vast reach.

Obama had entered office in 2009 promising to improve relations

with Iran as part of a_broader mpprochement with the Muslim world.

On the campaign trail he had asserted repeatedly'that the Bush
administrations policy of pressuring _Iran to stop its illicit nuclear
program wasn't working and that he would reach out to Tehran to
reduce tensions.

T_he man who would become Obama's top counterterrorisni adviser
and then CIA director, john Brennan, went further. -He
recommended in a_policypap'er
(http://journals.sagepub.com/doi/abs/io.1177/0002716268316732)
that “the next president has the opportunity to set a new course for

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David Asher

Velemr. U.S, H:lcil finance
expert
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]ohn B`rennan
Dlda,m_a\s White F.ouse
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who became C|[\ director in
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The secret backslory of how Obama let Hezbol|ah off lhe hook

 
  

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dialogue, but "greater assimilation of Hezbollah into Lebanons

political system."

      

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'By May 2010, Brennan, then<assistanc to the president for homeland
security and counterterrorism, confirmed in a speech that the
administration was looking for ways to build up "moderate
elements" within Hezbollah.

"Hezbollah is a very interesting organization," Brennan told a
Washin_gton conference', saying it had evolved from "purely a
terrorist organization" to a militia and, ultimately a political party
with representatives in the Lebanese Parliarnent and Cabinet,
according to aReuter_s report (https://www. reuters. com/article/us_-
lebanon-usa-hezbollah/u- -wans- wants-to-build-up-hezbollah-moderates-
adviser-idUSTRE6410UM2010 o 519?type=p oliticsl\lews).

"Ihere'i.s certainly the elements of Hezbollah that are truly atconcern
to us_what they're doirig," Brennan said. “And what we need to do is
to find ways to diminish their influence within the organization and
to try to build up the more moderate elements.”

ln practice the administrations willingness to envision a new role
for Hezbollah in the Mi_ddle Ea'st, combined with its desire for a
negotiated seitlernent'to 'Iran's nuclear program, translated into ~a
reluctance to move aggressively against the top Hezl)ollah
operatives, according to Project Cassandra members and- others.

Lebanese arms dealer Ali Fay_ad , a suspected top Hezbollah operative
whom agents believed reported to Ru'ssia'n_ PresidentViadimir Put_in
asa key supplier of weapons to Syria and Iraq, was arrested in Pra_gue
in the spring of 2014. But for the nearly two years.Fayad was in
custody, top Obama administration officials declined{to apply serious
pressure on the Czech government to extradite him to the United
States, even as Putin was lobbying aggressively against it.

Fayad, who had been indicted in U.S. courts on charges of planning
the murders of U.S. government employees attempting to provide
-materialsupport to a terrorist organization and attemptingto
acquire, transferand use anti-aircraft'rnissiles, was ultimatelyse_nt to
Beirut. Heis.now believed_`by U.S. ofdci`als to be-back jn~business, and
helping to arm militants_ in Sy_ria and elsewhere with,Russian heavy
weapons

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Ali Fay`ad

(_aka Fayyad). Ukraine-
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large amounts al weapons
io Syria.

 

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The secret backslory of how Obama let Hezbollah off the hook

  

(http://www.politlco.com) ProfectCassaodra Pa¢ti l Fart|l l Partl|l
l.~‘larch 26, 2014

indictment of A|i Fayad

The indicimentalieges Fayad. along with his co-conspirators, agreed to
provide the FARC With weapons to kill U.S. and Colombian officials

mead `uii: document
(https://www.documenteloud.org/documencs/43256SE~AIi-Fayad-
Farouzi~l`.ndictment.htrnl)

Project Cassandra members say administration officials also blocked
or undermined their efforts to go after other top Hezbollali
operatives including one nicknamed the ‘Ghost-," allowing them to
remain active despite being under sealed U.S. indictment for years.
People familiar with his case say the Ghosl_: has-been one of the
world's biggest cocaine traffickers including to the U.S., as well as a
major supplier of conventional and chemical weapons
lhttps://www.treasu'ry'.gov/press-center/p'ress-
releases/Pages/smoos€.aspxl for use by Syn'an President Bashar
Assad against his people.

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The secret backslory of how Obama let Hezbollah off the hook

 
  

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repeatedly to investigate and prosecute Abdallah Saiieddine, go |mnwho aneged,),

Hezbollah's longtime envoy to lran, Whom they considered the inups.-,'/w\-m.dee.gov,'w\.'isi

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linchpin ot l-Iezbollah s criminal networl<, the Justice_ Department mm=, M,,_,W,- m gm.,,m
refused, according to four.fornier_ officials with direct knowledge of "B"‘$"'"‘i‘°$ f‘f'_~a"" _
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The administration also rejected repeated efforts by Project
Cassandra members to charge Hezbollali's military Wing'as an
ongoing criminal enterprise under a federal Mafia"-style racketeering
statute, task force members say. Ancl they allege that administration
officials declined to designate Hezbollah a significant transnational
criminal organization" and blocked other-strategic initiatives that
would have given the task force additional legal tools, money and
manpower to' fight it.

Eormer Obama administration officials declined to comment on
individual cases, but noted that the State Departm`ent condemned
the Czech decision not- to hand over Fayad. Several of them, speaking
on condition of anonymity. said they were guidedbybroa'der policy
objectives, including cie-escalating the conflict with lran, curbing its
nuclear weapons program and freeing at leastfour America.n
prisoners held by 'i'ehran. and that some law enforcement efforts
were undoubtedly constrained by those concerns

But the former officials denied that they detailed any actions against
Hezbollah- or its Iranian allies for_political reasons.

“'I'here has been a consistent pattern of,_actions taken against
Hezbollah, both through tough sanctions and law enforcement
actions before and after the Ira`n deal” said Kevi'n lewis, an Obama
spokesman who worked at both'the White House and justice
'Departm'ent in the.administration.

Lewis,' speaking for the Obarna administration provided -a list of
eight arrests and prosecutions as proof He made special note of a _`
Febr`uary `2016 operation in which European authorities arrested an
undisclosed number of allegedmémbers of a special Hezbollah
business affairs unit that the DEA says oversees its drug trafficking
and other criminal moneyexnaking enterprises.~

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_ The'secret backstory of how Obama let Hezbol|ah off the hook

tlp://www.po|itico,com) Fro|Perc?l}ea§§£§rszsang§R prc$§z?ilhfw%ea¥teli-( noted that the Europ ean arrests y 0
occurred after the negotiations with [ran were over, and said-the task
forcei.nitiated the multinational partnerships on its own, after years
of seeing their cases shot down by the lustice and State departments
and other U.S. agencies.

 

The Iusti_ce Deparr:ment, they pointed out, never filed corresponding
U.S. criminal charges against the suspects arrested in Europe,
including one prominent Lebanese businessman formally
designated by the TreasuryDepartment for using-his “direct ties to
Hezbollah= commercial and terrorist elements" to launder bulk
shipments of illicit cash for the organization throughout Asia,
Europe and the M.iddle East.

A former senior national security official of tire Obama
administrationl who played a role in the lran nuclear negotiations,
suggested that Project Cassandra members were merely.speculating
that their cases were being blocked forpolitical reasons. Other
factors. including a lack of evidence or- concerns ab out interfering
with intelligence operations could have been in play

"What if the CiA or the Mossa.d had an intelligence operation
ongoing inside Hezbollah and they were trying to'pursue someone . .
. against whom we.had impeccable [intelligence] collection and the
DEA is not going to know that?" the official said. "l get,the feeling
people who don’t know what's going on in the broader universe are
grasping at straws."

"l`he official added: “Theworl`d i`s.a lot more complicated than.vi'ewed
through the narrow lens ofdnig traiiicking. So‘you're not going to
let CIA-rule the'-roost, but you're ialso certainly not.going to let DEA-
do it either. Your approach to anything as complicated as Hezbollah
is going to have to involve the interagency [process], because the
State Departmem has a piece of the pie, the intelligence community
does. 'l`reasury does', DOD does."

Nonetheless, other sources independent of Project Cassandra
confirmed many`of the allegations in interviews with POI_ITICO,=a"nd
ln some.cases, in public comments

One' Obama-eia Treasury omci_al, Kathexine Bauer, in little-noticed
written testimony pres ented,last February to the House Comrnittee
on Foreign Affairs, acknowledged that "under~the Obama
administration these [Hezbollah-rel'atecl§ investigations were
tarnped down for fear of rocking. the boat withkan_ and jeopardizing
the nuclear deai."

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The secret backetory of how Obama le\ Hezboliah off the hook

 
  

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” "`”`"° ' °° °°'“ ' '°lialliae“r de §'uei te§'iimon§'io the House Commlttee on

Foreign Affairs

Former Treasury onlcial cr`slicizesitl')e Ovama administration

Reaa the comment
(https://www.documentcloud.org/documents/43_29Q58-Katherine-
Bauer-tes`timony-to-the-House~Commitbee.html)

As a result, some Hezbol]ah operatives were not-pursued via arrests,
indictments, or Treasury designations that would have blocked their
access to U.S. Enancial markets, according to Bauer,.a career
'l`reasury oflicial, who served briefly in'its Of£`ice of'l`errorist
Financing as a senior policy adviser for lran before leaving in late
2015. And=other “Hezbollah facilitators`T'
(ht-tp://www.washingtoninstitu_te.org/uploads/Documents'/pubs/Pol
icyNotegB~B'auer.p‘dt] arrested in France, Colombia, Lithnania have
not.been extradited - or indicted - in the U.S., she wrote.

Bauer, in an interview, declined to elaborate on her` testimony

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The secret bac`l<story of how Obama let Hezbo||ah offihe‘ hook

http://www.polltlco.com) Pra‘i%§ ea§:s£g ls?ne'?sa?£ii ?bgd-R?iafiupégil§ltradon officials expressed
concerns to him about alienating 'l’ehran before, duringand after the

Iran nuclear deal negotiations 'l`his was,_ he=said, part of an effort to
“defang, defund and undermine the investigations that were
involving iran and Hezbollah," he said.

  

"'l'he closer we got to~ the [_lran deal], the more these activities went
away,” Asher said. “So much of the capability whether it was special
op erations. whether it was law enforcement whether it was
[Treasuryl designations -- even the 'capacity, the personnel assigned
to this mission - it was assiduously drained, almostto the last_drop,

by the end of the Obama administration."

With muchfanfare, Obarna announced the final agreement on
implementation of the Iran deal on ]an. 17. 2016, in which Tehran
promised to shelve efforts to build a nuclear weapons program in
exchange for being released from crippling international economic
sanctions

Within months. task force officials said, Project Cassand'ra was all
but_daa`d_ S,ome of its mo stisenior'officials, including lack Kelly; the
veteran DE»A»sup'ervisory agent who created and led the task force,
were transferred to other assignments Arid Aslier.-h.imselt` left the
task force long before that, after the Defense Deparunent said his
contract would not be renewed

As a result, the U.S. government lost insight into not only~drug
trafEcldng and other criminal activity worldwide, but also into
'I_-lezbollah’s illicit conspiracies with top officials in the Ix_ariian,
.Syn`an, Veneanelan and Russian governments - all the way rip-to
presidents Nicola,s` Maduro, Assad and Pu`tin, according to former
task force members and other current and former U.S. officials

The derailment of Proj ect Cassandra also has undermined U.`S.
efforts to determine how much cocaine from the various Hezb'oilah-
aEiliated networks is coming into the United States, especially from
Venezuela, Where dozens oftop civilian and military omcials have
been under investigation for more than a decade RecenriyL the
'kurnp administration designated the country's vice president a
close ally 'of Hezbollah-and of Lebanese-Syrian descent, as a global
narcotics kingpin.

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DEA agent overseeing
Hezbollah cases at Spcciol
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The secret backstory of how Obama lel Hezbollah off the hook

  

http://www.po|itlco.com) Pro]'|`é[§%§svgal}libl!g' HePZaPt°lthl";;tjlp leag%tel|¥`dth kan __ continues to y U
undermine U.S. interests in lraq, Syria and throughout wide -swatlis

of Lan`n America and Afric__a_, including providing weapons and

training to managementth mnirias. And sas'eddme, me shoe

and other associates continue to play central roles intb.e trafficking

of drugs and weapons, current and former U.S.. officials believe.

"'l'hey were-a paramilitary organization with strategic importance in
the Middle East. and we watched them become an international
criminal conglomerate generating billions of dollars for the world/s
most dangerous activities, including chemical and nuclear weapons
programs and armies that believe Ameiica is their sworn enemy,"
said Kelly. the supervisory DEA agent and_lead coordinator of its
Hezbollah cases.

“If they are violatingU.S. statutes," he asked, "why can't we bring
them to justice?"

Mey. 31, 2017
lndictment of'S_amer E| Debek

From roughly 2008 to 2015, Del)ek allegedly received mllitary tralnln_g flom
training in surveillerijoo. explosives and firearms

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The secret backstory of how Oban'i'a let Hez'bo|lah off the' hook

  

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Read U‘.e document

(https'://www.documentcloud.org/docuinents/agzs660-Debek.html)

Kelly and Asher are among the officials involved in Project` Cassandra

who have been quietly contacted by the 'D:ump administration and

congressional Republican's, who said a special POLITICO report April

24 on Ba.rack Obama's hidden iran deal concessions raised urgent

questions about the need to resurrect key law enforcementprograms

to counter Iran.

That won't be easy, according to former Project Cassandra members.

even with President Donald Trump's recent vow to crack down on

Iran and Hezbollah. 'l'hey said they tried to keep the project on life

support, in hopes'that itwouldbe revived by the next

administration but the,loss of key personnel, budget cuts and

dropped investigations are only a few of many challenges made

worse l_)y the passage of nearly ayear since Trump took office

“You can't let these things disintegrate,?" said Kelly, “Sources

evaporate. Who knows ifwe can nnd all of the people willing to

testify?”

Derek~Ma.ltz. Who oversaw Project'Cassandra_ as the head of the DEA’s 'D`¢r€k' Mllfz

Special Operations Dlvisi'on for nine years endingiu,hily zoiA, put it :;‘:,°;¢0;:6::;,°::,:;;;:$

this way. “Certai.nly there are targets that people feel that could have :’/'ivis"°" '°°b“=° ‘°r S"DD°"

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been indicted and weren t¢. There is certainly an argument to be rvup;//d<>o~hous@sov/me
made that if tomorrow all thelagencies were ordered to come e°"‘giS/F'V "‘°°/ ?°17°6°
`8_/10,6094/HHRG-115~

together and sit in a room and put all the evidence on the table FAoo'ws=a¢e.Maim>

against.all these bad guys, that there could be a hell cfa lot of :i:;.?!@al:;¢::f) ana ns

'indictments."

But Maltz-said the damage wrought by yearsof political interference
will be hard to repair.

”There's no doubt in my mind now that the focus .was-this-iran deal
and our initiative was kind o_f like a.fly_,in the soup
(http://docs.house.gov/rneetings/FA/FAo0/20170608/106094/I~IHR
`G~ns-FAo 0-Wstate-MaltzD- 20170608.pdf)," Maltr said. “We were
the win that went o&`the tracks ._”

Project Cas_sand_ra had-its origins in a series of investigations
launched in the years after the 9/11 attacks which all led, via their
own twisted paths. to Hezbollah as a suspected global criminal
enterprise

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The secret backstory of how Obama let Hezbol|ah off the hook

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authorities to explore a global alliance between Lebanese money
launderers and Colombian drug trafficking conglomerates. was one.
Operation Perseus, targeting Venezuelan syndicates was another. At
the same time, DEA agents in West Africa were investigating the
suspicious flow of thousands of used cars from UiS. dealerships to
car parks in-Benin.

Meanwhile, in lraq, the U.S. military was probing the role of Iran in
outfitting Shiite'mi.litias with high-tech improvised explosive
devices known as Explosively Formed Penen'ators, or EFPs, that had
already killed hundreds ofU.S. soldiers

All of these paths eventually convergecl on Hezbollah.

Tliis wasn'tentirely a-surp.rise, agents say. For decades, Hezbolla.h ~
in close co operation with I_ranian intelligence and Revolutlonary
Guard - had worked with supporters in Lebanese communities
around the.world to create a web of businesses that were-long
suspected of being fronts for black-market trading. Along the same
routes that carried frozen chicken and consumer electronics these
busi.nesses~moved weapons, laundered money and even procured
parts for lran's illicit:nuclear and ballisth missile programs

As'they pursued their investigations the DEA agents found that
Hez_bollah was redoubling all of these efforts, woii<ing~urgently to
raise cash, and lots ofit. to rebuild its south Lebanon stronghold
alter a 2006 war-with Israel had reduced it to rubble;

Dating back to its inception_in the early 19805,_Hezbollah, which
translates to “Par'ry»of God,” had also engaged in "narcoterrorism_."
collecting ata.rifffrom drug dealers and other blaek~marl<et
suppliers who operated in territory it controlled in Lebanon and
elsewhere Now, based on the DEA’s extensive network of
informants undercover operatives and wiretaps, lt looked like
Hezbollahl had shifted tactics, and gotten directly involved inthe
global cocaine n'ade, according to interviews and documents
including a confidential DEA assessment

"It was like they flipped a switch]' Kelly told POLI’l'lCO. “A'll of a

sudden, they reversed the flow ofall of the black-market activity they

had been taxing for years. and took control of the operation."

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A joint investigation
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Colon.\bi.'in authorities into
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and drug-trafficking alliance
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The secret backstory of how Obama let Hezl)o|lah off the hook

 
  

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would identify businesses that might be profitable and useful as
covers for cocaine ltrafficlu'ng and buy financial stakes in them, Kelly
and others said. '“And if the business was successful and suited their
current needs," Kelly. said, “they went from partial owners to

majority owners to full partnership or takeover."

Hezbollah even created a special financial unit that, translated into filled M“ghniy¢h
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English. means Business Affau:s Component," to oversee the (,',“::':!,;.__:'w":,:;::;,:_._.Mi
'spraw]ing criminal operation, and it was run by the World's most <?'\S/ "°/'2`015/“‘1°20115-$
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wanted terrorist after Osarna bin Ladcn, a notoriously vicious il\.lei,`:n;,,,»,, Ope,@m,.,§
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thWOGuco /wilci/FBI_MOst_Wanted__T_errorists.html) Hezbollah ninety \~.':'.~g, -.m-. ls»a.:t.¢
military commandernamed Imad Mughniyeh, according to DEA ""'“"" °'ga"""-"“”"

interviews and documents

Mughniyeh had for decades been the public face of terrorism for
Arnericans, orchestrating the infamous attack that killed 241’11.5.
Marines in 1983 in their barracks in Lebanon, and dozens more
Americans in attacks on the U.S. Embassy in Beirut that_year and an
annex the year after. When President Ronald Reaganl
(httpsz//his`tory.state.gov/mi;lestanes/1981-'1988'/leban0n) responded
to the attacks by withdrang peacekeep`ing troops from Lebanon,'
Hezbollah claimed a major victory and vaulted L_o the forefront of the
Islamist resistance movement against the West.

Over the next 25 years, Iran's financial and military support
(litips://wwwlstate.gov/j/ct/list/cl¢$tsl,htmlfor Hezbollah enabled it
to amass an armywith tens of thousands of foot soldiers. more heavy -
armaments than most nation-states and approximately 120,000
rocket`s and`b'all_istic missiles thatcouldstrike lsrael.and U.S.

interests in the region with devastating precision

Hezbollah became an experti`n soft power, as well. Itprovided food,
medical care and other social services for standn`g refugees in war-
torn Lebanon, winning credibility on the ground ltithe`n evolved
further into a powerful political
(https_:[Ye_nrwikipedia.-org/wi_ki/Loyalty_to_the_Resistance_Bloc)
party, casting itselfas the defender of,poor. mostly$hiite_ Lebanese
against Christi_an vand Sunni Muslim elit'es. But even as Hezbol_lah
was moving into the mainstream of Lebanese politics, 'M,ughniy_eh
was overseeing a secret-expansion of its terrorist wing, the.lslam_ic'
Jih`ad Organization. Worl<ing with Iranian intelligence agents,
Islamic ]ihad continued to attack
'(https://www.state.gov/r/pa/prs/ps/2017'/07/272649.ht`m) Western,
Israeli and Jewish targets around the world, and-to conduct
surveillance on others -- includingin the United_$ta_tes
(http://bit.ly/zytDRPO) - in‘preparation for future attacks

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- The secret backslory of how Obama let Hezl)ollah off lhe hook

(hdp'~//Ww.poli¢|co.com) Pm{_é[$tz agg%g'arnos£ field Lp§tgnitegarsttlates alone’ in what Was Clearlya y U
strategic decision to avoid U.S. retaliation But by 200_8, the Bush
administration came to believe that Islamic ]ihad was the most
dangerous terrorist organization in the world,'capable of launching

instantaneous attacks, possibly-with chemical biological or low-

 

grade nuclear weapons, that would dwarf those on 9/11,

ADVEF\\'|S|:|A|£N!

By funding terrorism and military operations through global drug
uafl`xcldng and organized crime. Muglm_iyeh's business affairs unit
Within Islamic Jiha'd had become the embodiment of the kind of

, threat the United Sta.tes was struggling to address in the post~9/11
world.

The DEA believed that itwas the~logical U.S. national security agency
to lead the interagency effort to go after Mugbniyeh's drug
trafficking networks`. But within the multiproog`ed U.S. national
security apparatus, this was both a questionable and problematic
assertion.

Established by President R`ichard Nixon in 1973
(https://www.dea.gov/about/liistoryshtml) 'to bring together the
various anti-drug»program's'underthe Depar'tment` of]ustice,-the
DEA'was among the»youngest,of the U.S. national security agencies.

And while tl`ie,DE_A had quickly proven itself adept at_working o_n the
global stage -- especially in partnerships with drug-infested
countries desperate for U.S. help like Colombia -- few people within
the U.S.v government thought:of it as a legitimate counterterron'.sm

force.

In the final years of the Bush adr_ninistration,v though, the DEA had gl:`¢:t°r Anat°l¥¢\'i€h
won the support of top officials',for taking down two major vt.».dn'm mm arms
international arms dealers, a Syrian named Monzer~al~l(assa'r ::;:',_’“C‘;’:;\‘;;; ';° 'L°'°'
(https://www.justice.gov/archlve/trsao /nys/pressreleases/)unem/ka mspqu w sen millions
ssaretalarrest%zoPdef) and the Russian "Lord of.War ;’; ‘C’;’::b`_:_°n'"‘ °' `”"’°"°'“
(https://www.justice.gov/archive/opa/pr/zoOS/March/bout- namommns\s.

complaint.pdt]," Viktor:Bout. And thanks to supportive Republicans
in Congress, it had become the beneficiary of a new federal law
(h@szmdu£msion.usdoj.gov/szr/ziusc/gsoa.htm) that
empowered its globe-trotting cadre of assault'-weapon»toting Specia.l
Opera_t_ions agents

 

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The-secrel l)ackslory of how Obama lel Hezbo|lah off the hook

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Pr'o ectCassan

without permission required from other U.S. agencies All they
needed to'do was connect drug suspects to terroris_rn, and they could
arrestthem, haul thembacl< to the United States and flip thern in an
effort to penetrate "the highest levelsjofthe World's most significant
and notorious criminal organizations," as then-Special Operations
chief Maltz told-Congress (https://www.gpo.gov/‘fdsys/pkg/CHRG-
nzhhrg'nzss/htrnl /CHRG -112hlug?1265.htmlin November 2011.

As they crunched the massive amounts of intel streami.ng into the
DEA's Counter Narco-Terrorisrn Operations.Center

(hrtps://ndias torage.b1ob.core.usgovcloudapi.net/ndia/zoio~/homel
and/Dodd-_pdfl in Chantilly. Virginia. the agents on Operat:ion Titan,
Perseus and the other cases began to connect-the dots and map the
contours of one overarching criminal enterprise

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Ever'ywh`ere and Howhere

Fror_n its headquarters in the Middle East, Hezbollah extends its
criminal reach to ~chtin America, Afr`ica and rhe United`States;

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Derek Ma.ltz

Senior DEA o!ficial who as
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Colomhian authorities into
a global money»la\ioderlng
and drug-lrall§cxing alliance
between Lalh\ 1\nleric¢'-n
zramckers and Lebanese
operatives

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